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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



IN RE GSE BONDS ANTITRUST LITIGATION                       Docket No. 1:19-cv-01704-JSR

                                                           THIRD CONSOLIDATED
                                                           AMENDED CLASS ACTION
                                                           COMPLAINT

                                                           JURY TRIAL DEMANDED


       Joseph M. Torsella, in his official capacity as the Treasurer of the Commonwealth of

Pennsylvania and statutory custodian of all Commonwealth Funds; City of Birmingham

Retirement and Relief System; Electrical Workers Pension Fund Local 103, I.B.E.W.; and Local

103, I.B.E.W. Health Benefit Plan (collectively, “Plaintiffs”), individually and on behalf of all

others similarly situated, complain upon knowledge as to their own acts and upon information and

belief as to all other matters, against Defendants (defined below) for their violations of law from

at least January 1, 2009 through January 1, 2016 (the “Class Period”) as follows:

                                     I. INTRODUCTION

       1.        This case involves a conspiracy by Defendants to avoid a “race to the bottom” by

fixing the price of unsecured debt issued by government sponsored entities (“GSEs”), including

the Federal National Mortgage Association (“Fannie Mae”), Federal Home Loan Mortgage

Corporation (“Freddie Mac”), Federal Farm Credit Banks (“FFCB”), and Federal Home Loan

Banks (“FHLB”) (collectively, “GSE Bonds”). Direct evidence provided by a cooperating co-

conspirator confirms the agreement and economic analysis details pricing patterns consistent with

such behavior.

       2.        Defendants are horizontal competitors in the GSE Bond market. During the Class

Period, Defendants were the largest underwriters in the primary market involved in the process
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that GSEs use to issue debt (the “GSE Issuance Process”) and the largest dealers of GSE Bonds to

investors in the secondary market. This gave Defendants control over the GSE Bond supply

ultimately available to investors and thus the prices of those bonds.

       3.      In June 2018, reports emerged that the U.S. Department of Justice Antitrust

Division (“DOJ”) was investigating price-fixing in the secondary market for GSE Bonds. These

reports were confirmed when a cooperating co-conspirator provided Plaintiffs with smoking gun

direct evidence of a conspiracy among major GSE Bond dealers to fix the prices of GSE Bonds

traded in the secondary market during the Class Period. This direct evidence of conspiracy shows

that Defendants inflated the prices of newly issued GSE Bonds acquired through the GSE Issuance

Process throughout the Class Period by fixing the price those bonds were “free to trade” (“FTT”)

in the secondary market at artificially higher, anticompetitive levels. For example, in the chat

below, Morgan Stanley, Deutsche Bank and BNP Securities agree to fix the FTT price for a newly

issued GSE Bond at an artificially inflated price of $99.985:

               February 17, 2012
               DBSI Trader 1: how are you guys doing? we have 100mm left
               Morgan Stanley Trader 1: 150mm left
               BNP Securities Trader 1: I’d say free it up given the cheapening trend of FHLB
               BNP Securities Trader 1: $140mm left
               Morgan Stanley Trader 1: i just don’t want to create a race to the bottom
               between the 3 of us, doesnt help anyone.
               DBSI Trader 1: ugh this thing is a pig
               DBSI Trader 1: ok im fine ftt
               BNP Securities Trader 1: I agree, but also don’t want to see spreads gap out,
               FHLB widen, and see a .50 in 2y space
               DBSI Trader 1: go out ftt 99.985?
               BNP Securities Trader 1: Good by me.



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               Morgan Stanley Trader 1: sure ftt at 99.985
       4.      The cooperating co-conspirator has disclosed examples, like the one above, in

which Defendants and other GSE Bond dealers agreed to inflate and/or maintain artificial prices

for GSE Bonds throughout the Class Period. Among those directly implicated in conspiratorial

multi-bank chats regarding pricing in the secondary market for GSE Bonds are Defendants

Barclays, Bank of America/Merrill Lynch, Citigroup, Credit Suisse, Deutsche Bank, Goldman

Sachs, BNP Paribas, First Tennessee, TD Securities, Morgan Stanley, Nomura, JPMorgan, Cantor

Fitzgerald, UBS, and HSBC. See Part VI., below.

       5.      Defendants’ unlawful agreement exploited both the structure of the vast over-the-

counter (“OTC”) secondary market for GSE Bonds and the lack of systems and controls in place

during the Class Period to detect such misconduct. Unlike stocks, which trade on a national

exchange at publicly visible prices, investors looking to buy or sell GSE Bonds in the OTC market

must typically communicate directly with a salesperson or trader to request a price quote. Prices

are given individually by dealers in response to such requests made by phone or in electronic chats,

making the process of pricing a GSE Bond slow and opaque compared to exchange-based markets,

like the stock market, where a multitude of banks and investors and other agents can see price

information updated in real-time as they trade. This opaque structure supported Defendants’

agreement to unlawfully increase their own profits at the expense of Plaintiffs and the Class by

fixing the prices of GSE Bonds.

       6.      Defendants expressly recognized that they stood to profit more by agreeing not to

compete in the GSE Bond market. Morgan Stanley Trader 1 – the same individual concerned with

creating “a race to the bottom” among Defendants in Paragraph 3 – summarized the conspiracy’s

philosophy in a group chat with traders from DBSI and HSBC Securities shortly before going FTT

on October 25, 2013:


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               October 25, 2013
               Morgan Stanley Trader 1: i dont get it. why try to compete when theres no need to
               make it competitive
               Morgan Stanley Trader 1: everyone can do so much better, for themselves and
               collectively if we all just play nice
               DBSI Trader 2: you sound like a european socialist
               HSBC Securities Trader 1: ha!
       7.      In line with the information provided by the cooperating co-conspirator, economic

analyses show pricing patterns consistent with an agreement among Defendants to charge

supracompetitive prices for GSE Bonds throughout the Class Period. Plaintiffs analyzed pricing

data for over 13,117 GSE Bonds encompassing a total of 1.6 million GSE Bond transactions and

found several unique patterns.

       8.      First, economic analysis shows that Defendants consistently charged investors

higher prices for newly issued GSE Bonds in the secondary market following GSE Bond issuances.

Inflating prices after GSE Bond issuances was lucrative for Defendants because a significantly

larger volume of GSE Bond sales occur in the week following a GSE Bond issuance compared to

later periods. Consequently, each Defendant had the common motive to inflate the prices of these

products by charging agreed-upon, supracompetitive prices to investors. This practice stabilized

prices at which newly issued GSE Bonds were sold in the secondary market at supracompetitive

levels, securing higher profits for Defendants at the direct expense of investors like Plaintiffs and

the Class.

       9.      Second, economic analysis shows that the prices of the most recently issued GSE

Bonds consistently increased in the days before each new issuance. These observed price increases

are unexplained by other market factors and are, in fact, the opposite of what is expected in a

competitive market. Consistent with Defendants’ conspiracy to inflate the prices of GSE Bonds



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following new issuances, the observed price increases indicate that Defendants drove the market

price for the latest set of GSE Bonds artificially higher just before new issuances to support the

inflated FTT prices they agreed to fix for newly issued GSE Bonds.

       10.     Finally, Defendants’ conspiracy resulted in artificially wider bid-ask spreads in the

GSE Bond market. Economic analysis shows that Defendants’ agreement not to compete in the

secondary market caused bid-ask spreads to artificially widen throughout the Class Period. This

is highlighted by the statistically significant, and otherwise unexplained, narrowing of bid-ask

spreads observed in the GSE Bond market after the Class Period. The inflation of bid-ask spreads

during the Class Period caused Plaintiffs and the Class to pay more and receive less than they

should have in each GSE Bond transaction, increasing Defendants’ profits at their expense.

       11.     The observed inflation in GSE Bond prices and widening of the bid-ask spreads is

also inconsistent with the overall trend towards electronic trading and price reporting in the GSE

Bond market during the Class Period. For example, at least as early as 2010, FINRA required its

members to report all secondary market GSE Bond transactions to its Trade Reporting and

Compliance Engine (“TRACE”), which provides post-trade price information to the public.

Academic studies show that in an OTC market (such as the one for GSE Bonds) the increased

transparency supposedly created by TRACE should have resulted in a decline in investor trading

costs, i.e., narrower bid-ask spreads, the exact opposite of what happened here.

       12.     The economic fingerprints that Defendants’ conspiracy left on the GSE Bond

market diminish after January 2016, when the cooperating co-conspirator discovered the

anticompetitive conduct alleged herein. As the cooperating co-conspirator explained, Defendants’

GSE Bond price-fixing conspiracy was able to persist through the earlier government

investigations into the LIBOR and FX rate manipulations because the ban on multi-bank chat




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rooms adopted as a result of these investigations – which found that traders used electronic

chatrooms to fix prices, share proprietary trading and customer order information, and manipulate

pricing benchmarks – provided certain exceptions for banks involved in syndicates, like those used

to underwrite and bring GSE Bonds to market. As a result, traders involved in GSE Bond

syndicates at the Defendants were allowed to participate in multi-bank chat rooms to discuss

pricing even though such conduct was prohibited among traders of different products at the same

bank. The example chats included in this Complaint show that Defendants’ traders exploited this

loophole by using multi-bank chat rooms to unlawfully fix prices of GSE Bonds in the secondary

market.

       13.     Defendants’ agreement to restrain trade in the GSE Bond market is but the latest

instance of collusion and price-fixing in financial markets by these same Defendants. Extensive

government findings show that Defendants maintained deficient compliance and oversight

programs in their trading and sales businesses, and instead encouraged traders to participate in chat

rooms with their competitors. That Defendants’ “meetings” in the electronic chat rooms lead to

increased costs to Class members during the Class Period is an entirely predictable result. Given

the persistent, pervasive, and secret nature of Defendants’ conspiracy, as well as the existence of

ongoing governmental investigations into the misconduct alleged herein, Plaintiffs believe that

additional evidentiary support for their claims will be unearthed in discovery.

                             II. JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over this action pursuant to Section 1 of

the Sherman Antitrust Act, 15 U.S.C. §1, and Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§15 and 26, respectively, and pursuant to 28 U.S.C. §1331.




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       15.     Venue is proper in this District, pursuant to, among other statutes, Sections 4, 12,

and 16 of the Clayton Act; 15 U.S.C. §§15, 22, and 26; and 28 U.S.C. §1391(b), (c) and (d). During

the Class Period, each Defendant resided, transacted business, was found, or had agents in the

District; a substantial portion of the events or omissions giving rise to Plaintiffs’ claims occurred

in this District; and a substantial portion of the affected interstate trade and commerce discussed

herein has been carried out in this District, as more particularly alleged in Part VI., below. For

example, Defendants Barclays Capital Inc., Merrill Lynch Pierce Fenner & Smith, Inc., Citigroup

Global Markets Inc., Credit Suisse Securities (USA) LLC, Deutsche Bank Securities, Inc.,

Goldman Sachs & Co. LLC, J. P. Morgan Securities LLC, Morgan Stanley & Co., LLC; BNP

Paribas Securities Corp., TD Securities (USA) LLC, Nomura Securities International, Inc., Cantor

Fitzgerald & Co., HSBC Securities (USA) Inc., SG Americas Securities LLC, and UBS Securities

LLC are headquartered in this District. Defendants First Tennessee Bank, National Association

and FTN Financial Securities Corp. conduct business in this District through their subsidiaries as

agents and through branch offices located in this District, as more particularly alleged below. All

of Defendants’ GSE Bonds trading desks are located in the United States, with the majority located

in New York, New York and one being located in Memphis, Tennessee.

       16.     This Court has personal jurisdiction over each Defendant. Defendants are all

domestic corporations with their principal place of business in the United States. As alleged below,

a substantial part of the events giving rise to Plaintiffs’ claims occurred in this District and the

United States. Defendants conspired to fix the prices of GSE Bonds that Defendants traded in this

District and with customers located in the United States. Defendants’ price-fixing conspiracy

harmed investors in this District and throughout the United States by causing them to pay more for




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their GSE Bond purchases and receive less on their GSE Bond sales than they would have in a

competitive market.

       17.     Defendants, either themselves or through their subsidiaries as agents, purposefully

availed themselves of doing GSE Bond business in the United States and in this District by, inter

alia: (a) enacting their conspiracy here by charging artificial, agreed-upon prices in GSE Bond

transactions with investors in this District and throughout the United States; and (b) collecting

unlawful overcharges from investors in this District and throughout the United States.

                                       III. PARTIES

       18.     Plaintiff Joseph M. Torsella, in his official capacity as the Treasurer of the

Commonwealth of Pennsylvania. Plaintiff Torsella is the Treasurer of the Commonwealth of

Pennsylvania and the head of the Pennsylvania Office of the State Treasurer (“PA Treasury”). PA

Treasury is an independent executive office established by the Constitution of the Commonwealth

of Pennsylvania, Article IV, §1, 18 and headquartered in Harrisburg, Pennsylvania.

       19.     The Treasurer’s powers and responsibilities are both inherent to the office and

statutorily derived. Among these duties, the State Treasurer is the sole and exclusive statutory

custodian of virtually all state agency funds (“Commonwealth Funds”), with a fiduciary obligation

to safeguard and protect all Commonwealth assets within his custodial care. To this end, all

Commonwealth agencies are obligated to deposit Commonwealth moneys as directed by the

Treasurer. Commonwealth Funds total more than $100 billion and include the Public School

Employees’ Retirement System, the State Employees’ Retirement System, the Pennsylvania

Municipal Retirement System, the State Workers’ Insurance Fund, and the Workers’

Compensation Security Fund. These funds serve as safety nets for thousands of Pennsylvania

teachers, police officers, state agency employees, and others.




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       20.     Due to their perceived safety and high credit quality, GSE Bonds have been a key

component of Commonwealth Fund investments for many years.                 Commonwealth Funds

transacted in more than $63 billion in GSE Bonds during the Class Period.

       21.     In addition to his custodial role, the Treasurer has independent investment

management authority over approximately $19.5 billion in Commonwealth Funds, including

Long-term Investment Pool 198, Short-term Investment Pool 99, and the Tuition Account

Program, among others. Accordingly, the Treasurer has standing to pursue the claims at issue here

on behalf of all Commonwealth Funds. He serves as a party here in his official capacity.

       22.     Throughout the Class Period, Commonwealth Funds participated in thousands of

GSE Bond transactions, including directly with Defendants Barclays Capital, Inc.; Merrill Lynch,

Pierce, Fenner, & Smith, Inc.; BNP Paribas Securities Corp.; Citigroup Global Markets Inc.; Credit

Suisse Securities (USA) LLC; Deutsche Bank Securities Inc.; First Tennessee Bank, N.A.; FTN

Financial Securities Corp.; Goldman Sachs & Co. LLC; J.P. Morgan Securities LLC; UBS

Securities LLC, Cantor Fitzgerald & Co., Morgan Stanley & Co., LLC, HSBC Securities (USA)

LLC, TD Securities (USA) LLC; Nomura Securities International; and SG Americas Securities

LLC. These transactions include GSE Bonds that the cooperating co-conspirator has specifically

identified as being impacted by the conspiracy. As a result, Commonwealth Funds suffered

monetary losses and antitrust injury when they were overcharged or underpaid in these transactions

as a direct result of Defendants’ conspiracy to fix the prices of GSE Bonds.

       23.     Plaintiff City of Birmingham Retirement and Relief System (“Birmingham”) is

a public pension fund created by statute that provides retirement, disability, and survivor benefits

to eligible civil service employees, elected officials, and appointed employees of the City of

Birmingham, Alabama. Throughout the Class Period, Birmingham participated in GSE Bond




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transactions directly with Defendants Citigroup Global Markets Inc.; First Tennessee Bank, N.A.;

First Tennessee Securities, Inc.; Cantor Fitzgerald & Co.; Morgan Stanley & Co., LLC, and Merrill

Lynch, Pierce, Fenner & Smith Inc. Birmingham suffered monetary losses and antitrust injury

when it was overcharged or underpaid in these transactions as a direct result of Defendants’

conspiracy to fix the prices of GSE Bonds.

       24.     Plaintiff Electrical Workers Pension Fund Local 103, I.B.E.W. (“IBEW 103

Pension Plan”) is a defined benefit retirement plan that currently provides benefits to over 2,500

retired participants. IBEW 103 Pension Plan manages more than $1 billion in assets.

       25.     Plaintiff Local 103, I.B.E.W. Health Benefit Plan (“IBEW 103 Health Plan”) is a

health plan that currently provides benefits to over 16,500 lives including participants and their

families. Participants are covered by a comprehensive benefits program designed to protect and

provide for each Participant and their family through a broad range of unexpected events and

extraordinary expenses.

       26.     IBEW 103 Pension Plan and IBEW 103 Health Plan are designed to provide

financial stability and benefit security for all Local 103 members. IBEW Pension Plan and IBEW

Health Plan are referred to collectively as “IBEW 103.”

       27.     Throughout the Class Period, IBEW 103 participated in GSE Bond transactions

directly with Defendants Barclays Capital, Inc.; BNP Paribas Securities Corp.; Citigroup Global

Markets Inc.; Credit Suisse Securities (USA) LLC; Deutsche Bank Securities Inc.; Goldman Sachs

& Co. LLC; J.P. Morgan Securities LLC; Cantor Fitzgerald & Co.; HSBC Securities (USA) Inc.;

Morgan Stanley & Co., LLC; Nomura Securities International, Inc.; SG Americas Securities, LLC;

TD Securities (USA) LLC; and UBS Securities LLC. IBEW 103 suffered monetary losses and




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antitrust injury when it was overcharged or underpaid in these transactions as a direct result of

Defendants’ conspiracy to fix the prices of GSE Bonds.

       28.     Barclays: Defendant Barclays Capital Inc. (“BCI”) is a wholly owned subsidiary

of Barclays Bank PLC, incorporated in the state of Connecticut, with its headquarters in New York,

New York and domestic branch offices in at least 15 other U.S. cities. BCI is the main U.S. broker-

dealer entity for the Barclays group of entities and is a U.S. registered securities broker-dealer with

the SEC; a futures commission merchant, a commodity pool operator, a commodity trading advisor

registered with the Commodity Futures Trading Commission (“CFTC”); and a municipal advisor

registered with the SEC. BCI is registered as a “4(k)(4)(E)” securities subsidiary under the Bank

Holding Company Act, which permits it to engage in securities underwriting, dealing, and market-

making activities.

       29.     Barclays Bank PLC, operating under the trade name “Barclays Investment Bank,”

is headquartered in London, England and provides investment banking advisory services, foreign

exchange securities lending, and loan syndication services through at least three offices in the

United States, including its New York Branch located in this District. Barclays Bank PLC’s macro

market line of business is supported by trading desks that specialize in dealing GSE Bonds.

Barclays Bank PLC is a direct, wholly owned subsidiary of Barclays PLC, a multinational financial

services corporation.

       30.     BCI’s activities include transactions in asset-backed securities, agency mortgage-

backed securities, debt securities, other corporate related securities, equities, resale and repurchase

agreements, securities lending and borrowing, and clearing derivative products. It is an approved

dealer for Fannie Mae, Freddie Mac, FHLB, and FFCB, providing BCI access to GSE Bond supply

through the GSE Issuance Process. As of December 31, 2017, BCI held $8.5 billion in agency




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securities, a category that includes GSE Bonds.1 During the Class Period, BCI employees located

in this District priced, marketed, and dealt GSE Bonds to members of the Class.

          31.   During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with BCI.

          32.   BCI performed its GSE Bond business in the United States and in this District.

          33.   BCI conducts GSE-related activities, including GSE Bond dealing with investors,

as part of Barclays Bank PLC’s “Barclays Investment Bank” division. Barclays Investment Bank

(which includes both Barclays Bank PLC and BCI) maintains a website in the United States where

it advertises that “We serve our institutional investor clients by helping them to understand

developments in global markets and offering execution and risk management tools across each

major asset class.” One of the ways in which BCI serves its institutional investor clients is by

transacting in GSE Bonds with investors like Plaintiffs. Barclays Investment Bank “integrates our

primary offering capabilities on behalf of issuer clients (e.g., BCI’s GSE Bond underwriting

activities in the GSE Issuance Process) with our secondary trading capabilities on behalf of our

investor clients (e.g., BCI’s GSE Bond transactions with investors including Plaintiffs and the

Class)” (emphasis added). These allegations show that BCI transacted in GSE Bonds in the United

States.

          34.   Bank of America/Merrill Lynch: Defendant Merrill Lynch, Pierce, Fenner, &

Smith, Inc. (“Merrill Lynch”) is a wholly owned indirect subsidiary of Bank of America

Corporation and a corporate affiliate of Bank of America, N.A. (“BANA”). Merrill Lynch is



1
        The terms “agency securities” and “agency bonds” are catch-all terms sometimes used to
refer to debt instruments issued by agencies of the United States Federal government and entities
sponsored by the Federal government, like Fannie Mae and Freddie Mac. These terms include
GSE Bonds.


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incorporated in Delaware, with its principal place of business in New York, New York. Merrill

Lynch acts as a broker and a dealer in the purchase and sale of various financial instruments,

including GSE Bonds throughout the United States and in this District. It provides underwriting

services and is registered as a broker-dealer and investment advisor with the SEC. Merrill Lynch

is the primary broker-dealer for the Bank of America Corporation corporate family, including

BANA, and prices, markets, and sells GSE Bonds on behalf of BANA.

       35.     BANA is an American global bank and financial services company incorporated in

Delaware and headquartered in Charlotte, North Carolina with operations in all 50 states. Bank of

America Corporation, the parent company of BANA, completed its purchase of Defendant Merrill

Lynch on January 1, 2008 and continued operating its debt and equity underwriting sales and

trading business after that date by merging Merrill Lynch with Bank of America Corporation’s

former broker-dealer subsidiary, Banc of America Securities LLC. Bank of America Corporation

also assumed all liabilities and obligations of Merrill Lynch on October 1, 2013.

       36.     Bank of America Corporation reports its financial position on a consolidated basis,

which includes the activities of both BANA and Merrill Lynch. As of December 31, 2017, Bank

of America Corporation held over $440 billion in debt securities, including GSE Bonds. During

the Class Period, Bank of America Corporation performed investment banking activities, including

dealing GSE Bonds to investors, through its wholly owned subsidiary Merrill Lynch.

       37.     During the Class Period, Commonwealth Funds and Birmingham transacted in

GSE Bonds directly with Defendant Merrill Lynch.

       38.     As of December 31, 2017, Merrill Lynch held over $440 billion in U.S. Treasury

and government agency securities, a category that includes GSE Bonds. Merrill Lynch and BANA




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were approved dealers for Fannie Mae, Freddie Mac, FHLB, and FFCB throughout the Class

Period.

          39.   Bank of America Corporation is responsible for internal controls, compliance, and

oversight for both BANA and Merrill Lynch. It handles “Fixed Income Compliance,” which

includes monitoring and detecting unlawful conduct within Merrill Lynch’s and BANA’s sales

and trading businesses, including Merrill Lynch’s and BANA’s GSE Bond dealing activities.

          40.   Citi: Citigroup, Inc. is a global banking institution headquartered in New York,

New York. It is the ultimate parent of its wholly owned dealer-subsidiary, Defendant Citigroup

Global Markets Inc. (“CGMI”). As of December 31, 2017, Citigroup, Inc. reported that “fair value

levels” of all “U.S. Treasury and federal agency securities” held by itself and its subsidiaries

(including CGMI) was approximately $21 billion.

          41.   CGMI is a New York corporation with its principal place of business in New York,

New York. CGMI has been registered with the SEC since 1960 as both an investment adviser and

a broker-dealer. CGMI currently has approximately 43,000 advisory accounts and $22 billion

USD in regulatory assets under management.2 During the Class Period, CGMI dealt GSE Bonds

to investors, including Plaintiffs, from offices located in this District.

          42.   Citigroup Inc. manages internal controls, oversight, and compliance for CGMI. In

this capacity, it is responsible for monitoring CGMI’s activities and detecting violations of law,

including CGMI’s GSE Bond-related activities.




2
       The SEC defines regulatory assets under management as “securities portfolios for which
you provide continuous and regular supervisory or management services.”


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        43.     As of June 18, 2018, CGMI reported that it has assets of approximately $17 billion

in U.S. Treasury and federal agency securities (a category that includes GSE Bonds), and over

$20 billion in liabilities of the same.

        44.     CGMI is an approved dealer for Freddie Mac, FHLB, and FFCB.

        45.     During the Class Period, Plaintiffs transacted in GSE Bonds directly from CGMI.

        46.     Credit Suisse: Defendant Credit Suisse Securities (USA) LLC (“CS Securities”) is

a wholly owned subsidiary of Credit Suisse AG (“CS AG”), organized under the laws of Delaware

with its principal place of business in New York, New York. CS Securities is a “Material Legal

Entity” according to CS AG’s latest U.S. Resolution Plan, described as the “U.S. broker dealer”

and “main U.S. operating company” of CS AG. It is a U.S. registered broker-dealer, providing

capital raising, market making, advisory, and brokerage services. It is an underwriter, placement

agent, and dealer for money market instruments, mortgage and other asset-backed securities, as

well as a range of debt, equity, and other convertible securities of corporations and other issuers.

Until November 2017, CS Securities was a primary dealer in U.S. government securities. In

November 2017, CS Securities transitioned its primary dealer license and a substantial portion of

its U.S. Government and Agency Primary Dealership, secondary market trading, and repo market

making to Credit Suisse AG, New York Branch. CS Securities is an approved dealer for both

Fannie Mae and Freddie Mac, ensuring access to GSE Bond dealing inventory that it used in

transactions with investors.

        47.     CS AG is a multinational banking and financial services company which engages

in banking, finance, consultancy, and trading activities in the United States and worldwide. CS

AG has a primary U.S. office located in New York, New York referred to as “Credit Suisse AG,

New York Branch.” Credit Suisse AG, New York Branch (“CS NY”) is a legal and operational




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extension of CS AG in the United States and is not a separately incorporated entity. CS NY is a

primary dealer in U.S. government securities and trades with the Federal Reserve Bank of New

York in this District in agency debt, which includes GSE Bonds. Through its New York Branch,

CS AG serves as a dealer in U.S. government and agency securities, including GSE Bonds.

         48.    CS AG has direct and indirect subsidiaries based in the United States, including

Defendant CS Securities. CS AG is registered to do business in New York with the New York

State Department of Financial Services. As of October 2017, CS AG held over $1 billion in GSE

Bonds.

         49.    CS AG manages internal controls, oversight, and compliance for CS Securities. In

this capacity, it is responsible for monitoring CS Securities’ activities and detecting violations of

law, including CS Securities’ GSE Bond dealing activities.

         50.    During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly from CS Securities.

         50a.   Deutsche Bank: Defendant Deutsche Bank Securities Inc. (“DBSI”), formerly

known as Deutsche Banc Alex. Brown Inc., is a wholly owned subsidiary of Deutsche Bank AG.

It is incorporated in Delaware with its principal place of business in New York, New York. DBSI

is a registered securities broker-dealer and investment advisor with the SEC, a futures commission

merchant with the CFTC, and a member of FINRA. DBSI provides capital raising, market making,

and brokerage services for its governmental, financial institution, and corporate clients. As of

December 31, 2017, DBSI held over $2 billion in U.S. Government agency obligations, a category

that includes GSE Bonds. DBSI is an approved dealer for Fannie Mae, Freddie Mac, FFCB, and

FHLB, ensuring access to GSE Bond inventory to trade with investors. During the Class Period,




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DBSI employed trading and sales staff who priced, marketed, and dealt GSE Bonds to members

of the Class, including Plaintiffs, from within this District.

        50b.    During the Class Period, Plaintiffs purchased and/or sold GSE Bonds from DBSI.
        51.     Goldman Sachs: Defendant Goldman Sachs & Co. LLC (“Goldman Sachs”) is a

wholly owned subsidiary of Goldman Sachs Group Inc., organized under New York Law with its

principal place of business in New York, New York. Goldman Sachs is a registered broker-dealer

with the SEC and trades financial products in all 50 states and the District of Columbia. It is

registered with the CFTC as a futures commission merchant and a swap dealer. As of December

2016, Goldman Sachs held over $44 billion in U.S. government and federal agency obligations, a

category that includes GSE Bonds.

        52.     During the Class Period, Goldman Sachs employed GSE Bond trading and sales

staff based in the United States and in this District, who priced, marketed, and dealt GSE Bonds

to investors, including Plaintiffs.

        53.     Goldman Sachs Execution & Clearing, L.P. was a wholly owned subsidiary of

Goldman Sachs Group, Inc. that offered trade execution and clearing services to other subsidiaries

within the Goldman Sachs brand. Goldman Sachs Execution & Clearing, L.P. also executed GSE

Bond trades with Plaintiffs and members of the Class at artificial prices during the Class Period,

until it was acquired by Goldman Sachs in or around August 2017.

        54.     Goldman Sachs is an approved dealer for Fannie Mae, Freddie Mac, FHLB, and

FFCB, ensuring access to GSE Bond inventory.

        55.     During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant Goldman Sachs.

        56.     JPMorgan: Defendant J.P. Morgan Securities LLC (“JPMS”), previously known

as J.P. Morgan Securities Inc., is a Delaware limited liability company with its headquarters in


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New York, New York. It is a wholly owned and “principal” subsidiary of JPMorgan Chase & Co.,

which is the parent company of JP Morgan Chase Bank, National Association (“JPM NA”). JPMS

is registered with the SEC as a broker-dealer and investment advisor and registered with the CFTC

as a futures commission merchant. JPMS acts as a primary dealer in U.S. government securities,

makes markets in GSE Bonds, and clears OTC derivative contracts in connection with its corporate

affiliates’ market-making and risk management activities. JPMS is an approved dealer for Fannie

Mae, Freddie Mac, FHLB, and FFCB, providing access to GSE Bond inventory through the GSE

Issuance Process that JPMS and its affiliates, including JPM NA, use when dealing GSE Bonds to

investors. During the Class Period, JPMS dealt GSE Bonds to members of the Class, including

Plaintiffs, from offices located in this District.

        57.      JPM NA is a wholly owned “principal subsidiary” of JPMorgan Chase & Co.,

headquartered in New York, New York. It is a national banking association with branches in at

least 23 U.S. states. As of February 2, 2018, JPM NA held over $1.7 billion in U.S. government

agency and U.S. government-sponsored agency debt securities, a category that includes GSE

Bonds. During the Class Period, JPM NA traded GSE Bonds with members of the Class from

within this District.

        58.      On October 1, 2016, JPMS acquired J.P. Morgan Clearing Corp., which was known

as Bear Stearns Securities Corp. until October 2008. J.P. Morgan Clearing Corp. offered execution

and clearing services for corporations affiliated under the “JPMorgan” brand name, and, in that

capacity executed GSE Bond trades with Commonwealth Funds and members of the Class at

artificial prices.

        59.      JPMorgan Chase & Co. manages internal controls, oversight, and compliance for

its subsidiaries including JPM NA and JPMS. In this capacity, it is responsible for monitoring




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JPMorgan Chase & Co.’s Fixed Income business unit, which encompasses JPM NA’s and JPMS’

GSE Bond-related activities.

       60.     During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant JPMS.

       61.     UBS: UBS AG is a multinational banking and financial services corporation which

engages in banking, financial, advisory, and trading service activities worldwide.           It is

headquartered in Basel, Switzerland. UBS AG maintains several branch and representative offices

in the U.S. and is registered as a swap dealer with the CFTC. UBS AG reports that it conducts

securities activities in the United States primarily through UBS Securities LLC. As of October

2018, UBS AG held over $304 million in GSE Bonds.

       62.     Defendant UBS Securities LLC (“UBS Securities”) is an indirect, wholly owned

subsidiary of UBS AG with its principal place of business in New York, New York. It is a

registered broker-dealer under the Securities Exchange Act of 1934 and is a member of the New

York Stock Exchange, FINRA, NASDAQ, and other principal exchanges.                  UBS Securities

provides a full range of investment banking services, including trading and sales and prime

brokerage operations.

       63.     As of December 31, 2017, UBS Securities held over $5.7 billion in U.S.

government and agency obligations, a category that includes GSE Bonds. UBS Securities is an

approved dealer for Fannie Mae, Freddie Mac, FHLB, and FFCB ensuring access to GSE Bond

inventory through the GSE Issuance Process. During the Class Period, UBS Securities priced,

marketed, and dealt GSE Bonds to investors from offices located in this District.




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        64.     UBS AG manages internal controls, oversight, and compliance for UBS Securities.

In this capacity, it is responsible for monitoring UBS Securities’ activities and detecting violations

of law, including by UBS Securities’ GSE Bond dealing businesses.

        65.     During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds direct with Defendant UBS Securities.

        66.     First Tennessee: Defendant First Tennessee Bank, N.A. (“First Tennessee”) is a

financial services company based in Memphis, Tennessee. It operates a large debt capital markets

division that focuses on public issuers such as Fannie Mae and Freddie Mac and on trading and

selling debt instruments to institutional investors such as Plaintiffs and members of the Class. First

Tennessee calls this division “FTN Financial Capital Markets.”

        67.     First Tennessee is registered with the SEC as a broker-dealer in government

securities. As of December 31, 2012, First Tennessee and its subsidiaries, including FTN Financial

Securities Corp., held over $3 million in government agency securities, a category that includes

GSE Bonds. During the Class Period, either independently and/or through FTN Securities Corp.,

First Tennessee priced, marketed, and dealt GSE Bonds to investors in this District during the

Class Period.

        68.     Defendant FTN Financial Securities Corp. (“FTN Financial”) is a wholly owned

subsidiary of First Tennessee and operates as part of First Tennessee’s FTN Financial Capital

Markets division. It is one of the largest underwriters of GSE Bonds and dealt GSE Bonds to

institutional investors.

        69.     FTN Financial performed GSE Bond business in this District with the knowledge

and consent of, for the benefit of, and under some control by First Tennessee, as alleged below.




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       70.     Both First Tennessee and FTN Financial comprise First Tennessee’s FTN

“Financial Capital Markets division” and as such, conduct mutually beneficial GSE Bond-related

activities. First Tennessee acquires GSE Bonds in the primary market by serving as an underwriter

in the GSE Issuance Process. FTN Financial is described as “our capital markets business” in the

Annual Report for First Tennessee and their mutual parent holding company, First Horizon

National Corp. (“First Horizon”). In this capacity, FTN Financial provides GSE Bond dealing

services to investors, selling and trading GSE Bonds acquired by First Tennessee. As described

in the Annual Report, “FTN Financial provides a broad spectrum of financial services for the

investment and banking communities through the integration of traditional capital market

securities activities, loan sales, portfolio advisory services, and derivative sales.”

       71.     First Tennessee and FTN Financial operate as a single integrated unit, with

operations by FTN Financial advertised under the same trade name and on the same website as

First Tennessee. FTN Advisors is the trade name for wealth management products and services

provided by First Tennessee and its affiliates. The FTN Advisors website represents itself as an

advisor and seller of agency bonds, a category that includes GSE Bonds. The FTN Financial

website advertises that, “whether it’s providing mortgage trading, underwriting agency debt,

providing customized portfolio strategies or more, we serve approximately 4,700 institutional

customers in more than 50 countries.” The FTN Financial website boasts that “we are backed by

$2.9 billion in capital as a division of First Tennessee Bank, N.A., which we don’t hesitate to put

behind every underwriting in which we participate,” indicating that First Tennessee consented to

and benefits from FTN Financial’s GSE Bond-related business activities.

       72.     First Tennessee reports its results on a consolidated basis, under its holding

company, First Horizon, which uses the overarching terms “our” and “we” to describe First




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Tennessee and FTN Financial, with both explicitly listed as comprising “our core business.” In its

financial reports, First Horizon consolidates revenues generated by First Tennessee and FTN

Financial.

       73.     FTN Financial has a significant GSE Bond-related business presence in this

District. For example, its Research Division markets GSE Bonds from offices located at FTN

Financial’s offices at 444 Madison Avenue, 9th Floor, New York, New York 10022.

       74.     During the Class Period, Commonwealth Funds and Birmingham transacted in

GSE Bonds directly with Defendants First Tennessee and FTN Financial.

       75.     BNP Paribas: BNP Paribas S.A. (“BNPP SA”) is one of the world’s largest global

banking organizations. It does business in 75 countries and employs over 180,000 people,

including approximately 15,000 in the U.S. As of December 31, 2012, BNPP SA and its

subsidiaries held approximately €69 trillion ($90 trillion) government bonds, a category that

includes GSE Bonds. In the year 2012, it sold €93 trillion ($121 trillion) in government bonds,

including GSE Bonds.

       76.     Defendant BNP Paribas Securities Corp. (“BNP Securities”) is an indirect, wholly

owned subsidiary of BNPP SA, headquartered in New York, New York. BNP Securities is a

registered broker-dealer with the SEC. It is BNPP SA’s “main broker dealer” in the U.S., and it

is its most significant subsidiary in terms of assets, revenue, head count, and capital.

       77.     BNP Securities is a primary dealer in U.S. government securities and an approved

dealer for Fannie Mae, Freddie Mac, FFCB, and FHLB. BNP Securities traded GSE Bonds with

investors in the United States from offices located in this District during the Class Period. BNP

Securities’ broker-dealer business is composed overwhelmingly of highly liquid assets, including

U.S. Treasury securities and agency debt (a category that includes GSE Bonds).




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       78.     BNPP SA manages internal controls, oversight, and compliance for BNP

Securities. In this capacity, it is responsible for monitoring BNP Securities’ activities and

detecting violations of law, including by BNP Securities’ GSE Bond dealing business.

       79.     During the Class Period, Commonwealth Funds and IBEW 103 transacted GSE

Bonds directly with Defendant BNP Securities.

       80.     TD: Defendant TD Securities (USA) LLC (“TD Securities”) is a corporation

organized under the laws of Delaware with its principal place of business in New York, New York.

It is a broker-dealer registered with FINRA and the SEC, and is licensed to do business in all 50

states. TD Securities is an indirect wholly owned subsidiary of The Toronto-Dominion Bank.

       81.     TD Securities is a self-acknowledged “major participant in the Fixed Income

markets.” During the Class Period, TD Securities made trades for tens of billions of dollars’ worth

of GSE Bonds.

       82.     During the Class Period, TD Securities performed its GSE Bond business in the

United States and in this District. During the Class Period, TD Securities employees located in

this District priced, marketed, and dealt GSE Bonds to members of the Class.

       83.     During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant TD Securities.

       84.     Nomura: Defendant Nomura Securities International, Inc. (“Nomura Securities”)

is a corporation organized under the laws of New York, with its principal place of business in New

York, New York. Nomura Securities is registered with the SEC and FINRA, and is licensed to do

business in all 50 states. Nomura Securities is a wholly owned subsidiary of Nomura Holdings,

Inc.




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       85.      Nomura Securities is an approved dealer for Freddie Mac, Fannie Mae, FHLB, and

FFCB bonds.

       86.      During the Class Period, Nomura Securities made trades for hundreds of billions of

dollars’ worth of GSE Bonds.

       87.      During the Class Period, Nomura Securities performed its GSE Bond business in

the United States and in this District. During the Class Period, Nomura Securities employees

located in the United States and in this District priced, marketed, and dealt GSE Bonds to members

of the Class.

       88.      During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant Nomura Securities.

       89.      HSBC: Defendant HSBC Securities (USA) Inc. (“HSBC Securities”) is a

corporation organized under the laws of Delaware with its principal place of business in New York,

New York. It is an indirect wholly owned subsidiary of HSBC Holdings plc. HSBC Securities is

a broker dealer registered with FINRA and the SEC, and is licensed to do business in all 50 states.

       90.      HSBC Securities is an approved dealer for Freddie Mac, FHLB, and FFCB. HSBC

Securities advertises on its U.S. website that it offers access to GSE Bonds.

       91.      During the Class Period, HSBC Securities made trades for tens of billions of

dollars’ worth of GSE Bonds.

       92.      During the Class Period, HSBC Securities performed its GSE Bond business in the

United States. During the Class Period, HSBC Securities employees located in the United States

priced, marketed, and dealt GSE Bonds to members of the Class.

       93.      During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant HSBC Securities.




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       94.     Cantor Fitzgerald: Defendant Cantor Fitzgerald & Co. (“Cantor Fitzgerald”) is a

partnership organized under the laws of New York, with its principal place of business in New

York, New York. Cantor Fitzgerald is a registered broker-dealer with the SEC and FINRA, and

is licensed to do business in all 50 states. Cantor Fitzgerald is a wholly owned subsidiary of Cantor

Fitzgerald, L.P.

       95.     Cantor Fitzgerald is an approved dealer for Freddie Mac, Fannie Mae, FHLB, and

FFCB. During the Class Period, Cantor Fitzgerald made trades for tens of billions of dollars’

worth of GSE Bonds.

       96.     During the Class Period, Cantor Fitzgerald performed its GSE Bond business in the

United States and in this District. During the Class Period, Cantor Fitzgerald employees located

in this District priced, marketed, and dealt GSE Bonds to members of the Class.

       97.     During the Class Period, Plaintiffs transacted in GSE Bonds directly with Cantor

Fitzgerald.

       98.     Société Générale: Defendant SG Americas Securities, LLC (“SG Securities”) is a

corporation organized under the laws of Delaware with its principal place of business in New York,

New York. SG Securities is a registered broker dealer with the SEC and FINRA, and is licensed

to do business in all 50 states. SG Securities is an indirect wholly owned subsidiary of Société

Générale.

       99.     SG Securities is an approved dealer for Freddie Mac. During the Class Period, SG

Securities was an approved dealer for Fannie Mae and FHLB. During the Class Period, SG

Securities made trades for billions of dollars’ worth of GSE Bonds.




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        100.    During the Class Period, SG Securities performed its GSE Bond business in the

United States and in this District. During the Class Period, SG Securities employees priced,

marketed, and dealt GSE Bonds to members of the Class.

        101.    During the Class Period, Commonwealth Funds and IBEW 103 transacted in GSE

Bonds directly with Defendant SG Securities.

        102.    Morgan Stanley: Defendant Morgan Stanley & Co., LLC (“MS&Co.”), formerly

known as Morgan Stanley & Co. Inc., is an indirect wholly owned broker-dealer subsidiary of

Morgan Stanley. Morgan Stanley is a global financial services firm incorporated in Delaware and

headquartered in New York, New York. As of December 31, 2017, Morgan Stanley reported that

the “fair value” of the “U.S. Treasury and agency securities” held by it and its subsidiaries

(including MS&Co.) was $22 billion.

        103.    MS&Co. is a Delaware corporation with its principal place of business in New

York, New York. MS&Co. is registered with the SEC as a broker-dealer. During the Class Period,

MS&Co. dealt GSE Bonds to investors, including Plaintiffs, from offices located in this District.

MS&Co. was an approved dealer for Fannie Mae, Freddie Mac, FHLB, and FFCB throughout the

Class Period.

        104.    Morgan Stanley manages internal controls, oversight, and compliance for MS&Co.

In this capacity, it is responsible for monitoring MS&Co.’s activities and detecting violations of

law, including MS&Co.’s GSE Bond-related activities.

        105.    As of December 31, 2017, MS&Co. reported that it had assets of approximately

$28 billion in U.S. agency securities (a category that includes GSE Bonds), and over $211 million

in liabilities of the same.




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       106.    During the Class Period, Plaintiffs transacted in GSE Bonds directly with

Defendant MS&Co.

       107.    Defendants DBSI, Merrill Lynch, JPMS, FTN Financial, BCI, UBS Securities,

Goldman Sachs, Cantor Fitzgerald, HSBC Securities, CGMI, BNP Securities, CS Securities, TD

Securities, Nomura Securities, and MS&Co. were approved dealers for debt securities issued by

Fannie Mae, Freddie Mac, FHLB, and FFCB during the Class Period. SG Securities was an

approved dealer for Fannie Mae, Freddie Mac, and FHLB during the Class Period. Defendants

CGMI, and BNP Securities are approved dealers for debt securities issued by Fannie Mae, Freddie

Mac, and FHLB. Defendant CS Securities is an approved dealer for debt securities issued by

Fannie Mae and Freddie Mac. During the Class Period, these Defendants had access to GSE Bond

supply through the GSE Issuance Process described in Part V.C., below, which they used to acquire

GSE Bond inventory to deal to investors.

                         IV. ADDITIONAL CO-CONSPIRATORS

       108.    Various entities that are not named as Defendants have participated in the violations

alleged herein and have performed acts and made statements in furtherance thereof. Plaintiffs

reserve the right to name some or all of these entities as Defendants at a later date. There is a finite

number of co-conspirators and Plaintiffs believe that their identities can be ascertained through

Defendants’ own records, including, but not limited to the productions made by Defendants to

government regulators.




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                            V. SUBSTANTIVE ALLEGATIONS

BACKGROUND

                 The GSEs

       109.      GSEs are privately run enterprises sponsored by the federal government and

established for a public purpose. Congress created Fannie Mae and Freddie Mac to provide

liquidity, stability, and affordability in the national residential mortgage market. They provide

liquidity (ready access to funds on reasonable terms) to banks and mortgage companies that make

residential mortgage loans to consumers with the goal of making mortgage loans more affordable

for consumers.

       110.      FLHB is a system of 11 regional banks that was created to support mortgage

lending and related community investment.

       111.      FFCB is a part of the Farm Credit System and was created to provide American

agricultural entities with dependable credit at competitive interest rates. FFCB issues bonds on

behalf of four farm credit banks.

       112.      GSEs finance operations by issuing GSE Bonds. GSE Bond issuances occur

several times a month, typically in a predictable pattern based on a pre-determined calendar. The

great majority of newly issued GSE Bonds have similar or identical characteristics as existing GSE

Bonds except that they mature on a later date.

       113.      Each GSE Bond issue is identified with a unique nine-digit alphanumeric code

known as a Committee on Uniform Security Identification Procedures number (“CUSIP number”).

The CUSIP number identifies specific provisions of each bond issue, such as issuer, coupon, issue

date, maturity, and call provisions.




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                Characteristics of GSE Bonds

         114.   All GSE Bonds have core similarities that distinguish them as a single class of debt

instruments.

         115.   GSE Bonds are all issued by Fannie Mae, Freddie Mac, FHLB, or FFCB, and

therefore carry substantially similar levels of credit risk. Credit risk is the risk that an entity will

default on its repayment obligations. Unlike U.S. Treasury bonds and bonds issued by certain

federal agencies, GSE Bonds are not backed by the full faith and credit of the United States

government, meaning they are not guaranteed by the federal government. Credit risk is generally

low for GSE Bonds, however, because GSEs benefit from a perceived tie to the federal government

as institutions established under federal legislation. Debt issued by GSEs generally has high credit

quality. The senior debt of Fannie Mae and Freddie Mac is rated Aaa/AA+, while the subordinated

debt of Fannie Mae and Freddie Mac is rated AA-/Aa-. The long-term debt of FHLB and FFCB

is rated Aaa/AA+, while the short term debt of FHLB and FFCB is rated P-1/A-1+. In September

2008, the Federal Housing Finance Agency became the conservator of Fannie Mae and Freddie

Mac, which permitted them to meet their obligations on over $1 trillion in outstanding bonds.

         116.   GSE Bonds are unregulated, unregistered OTC issuances that are exempt from the

registration and disclosure provisions of the federal securities laws.

         117.   All Defendants operate trading desks that specialize in GSE Bond trading and sales

in the United States, with the majority located in this District. Within each Defendant’s sales and

trading business, the same team that deals one issuers’ GSE Bond to investors also deals all other

issuers’ GSE Bonds. Thus, the same employees within each Defendant’s GSE Bond trading and

sales business determine prices charged to investors in GSE Bond transactions for all types of GSE

Bonds.




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       118.    GSE Bonds also have other common features. These include face value, maturity,

and coupon payment, explained below. Collectively, these characteristics are used to determine a

GSE Bond’s “yield to maturity,” which is the annual return that the holder of a GSE Bond earns

from the instrument.

       119.    The amount of money that a GSE owes to the holder of a GSE Bond upon maturity

is known as the “face value,” and the length of time between when a GSE Bond is issued and when

a GSE Bond matures is known as its “maturity.” The most recently issued GSE Bonds are known

as “on-the-run” GSE Bonds, while all other, older GSE Bonds with similar characteristics are

known as “off-the-run” GSE Bonds.

       120.    Most GSE Bonds pay a fixed rate of interest or fixed coupon rate semi-annually.

Some GSE Bonds pay a variable or floating coupon rate that adjusts periodically based on a

designated index. Fixed-rate GSE Bonds have fixed interest rates and fixed maturities. If held to

maturity, they preserve their principal and offer certainty of cash flow. Prior to maturity, however,

the market value of fixed-rate GSE Bonds fluctuates with changing interest rates. In a falling-rate

environment, market values will rise, creating the potential for capital gains. In a rising-rate

environment, prices will fall, creating the risk of loss when securities are sold prior to maturity.

Prices move in the inverse direction of yields, so that when prices fall, yields rise. Because yields

fluctuate with market conditions, yield spreads, i.e., a GSE Bond’s yield to maturity minus a

chosen benchmark bond, are a common basis of comparison between bonds.

       121.    Medium-term GSE Bonds (GSE Bonds with maturities between two years and 10

years) and long-term GSE Bonds (GSE Bonds with maturities longer than 10 years) can also offer

periodic interest payments known as “coupons.” GSE Bond coupon payments occur semi-

annually and are calculated by multiplying the interest rate specified for the GSE Bond (e.g., 5%)




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by the GSE Bond’s face value (e.g., $100,000). Thus, a coupon-bearing GSE Bond with a face

value of $100,000 and a 5% coupon payment would entitle the holder to two interest payments of

$2,500 paid every six months, for a total of $5,000 per year, until maturity. At maturity, the issuing

GSE pays the holder the face value specified in the GSE Bond.

       122.    Short-term GSE Bonds do not offer coupon payments. Instead, short-term GSE

Bonds are issued at a discount to face value. The difference between the price paid and the face

value due upon maturity represents the interest that the GSE Bond purchaser earns in exchange for

buying the short-term GSE Bond. For example, assume a purchaser pays $98,382.75 to purchase

a short-term GSE Bond with a face value of $100,000 that matures in 120 days. When the

purchaser redeems the GSE Bond at maturity, it receives the full $100,000 face value from the

GSE, $1,617.25 more than what it paid to purchase that GSE Bond. The extra $1,617.25 represents

the amount of interest that the GSE paid to borrow $98,382.75 for 120 days, or approximately 5%

annually.

       123.    GSE Bonds can be non-callable, or “bullet,” bonds or callable GSE Bonds that can

be redeemed by the issuer prior to maturity.

               The GSE Bond Market

       124.    Fannie Mae, Freddie Mac, FHLB, and FFCB issue GSE Bonds through a pre-

approved group of “Approved GSE Bond Dealers,” including Defendants. Approved GSE Bond

Dealers underwrite GSE Bonds issued by Fannie Mae, Freddie Mac, FHLB, and FFCB and profit

from trading GSE Bonds with investors, such as Plaintiffs and the Class, in the secondary market.

       125.    Thus, the GSE Bond market is structured as a three-tiered pyramid with GSEs at

the top, Approved GSE Bond Dealers in the middle, and investors like Plaintiffs and the Class at

the bottom. Figure 1, below, illustrates the structure of the GSE Bond market. The black arrows




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represent GSE Bond supply. First, Fannie Mae, Freddie Mac, FHLB, and FFCB issue GSE Bonds

to Approved GSE Bond Dealers. Next, Approved GSE Bond Dealers trade GSE Bonds with

investors like Plaintiffs and the Class.

                                                FIGURE 1
                       THE STRUCTURE OF THE GSE BOND MARKET




                                                    GSEs



                                                                                    GSE
                                                                                  Issuance
                                                                                  Process

                                            Approved GSE Bond
                                                    Dealers
                                             (e.g., Defendants)




                                 Investors (e.g., Plaintiffs and the Class);
                                     Non-Defendant Dealer Banks



       126.    GSEs select these Approved GSE Bond Dealers to underwrite new GSE Bonds in

one of three ways: (1) by “mandate” in which the GSE requires a certain group of Approved GSE

Bond Dealers to place a new bond; (2) by holding an “auction” where Approved GSE Bond

Dealers bid for the right to take the new bond to market; or (3) in response to a “reverse inquiry”

from Approved GSE Bond Dealers with demand for a specific kind of bond.


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       127.    GSEs encourage Approved GSE Bond Dealers to participate in GSE Bond auctions

by awarding “points” based on their level of activity. These points are reflected on a monthly

“scorecard” circulated by each issuer. The more points an Approved GSE Bond Dealer accrues

the more likely they are to be selected for mandates and given additional underwriting business

from the GSEs.

       128.    GSE Bond auctions occurred at regularly scheduled intervals (i.e., weekly,

biweekly, or daily) throughout the Class Period. In each auction, Approved GSE Bond Dealers

(often working together in a group called a “syndicate”) submit proposals reflecting their plan for

underwriting and bringing a new bond to market. This proposal will include certain details, such

as the size of the offering and how it will be allocated among the Approved GSE Bond Dealers

should they be selected. If a joint bid is successful, each of the winning Approved GSE Bond

Dealers that is part of the syndicate receives an allocation of newly issued GSE Bonds.

       129.    Next, the newly issued GSE Bonds enter the “syndication” phase. In this phase,

the Approved GSE Bond Dealers that won work together in the “primary market” to try and place

the new GSE Bonds with a bulk buyer. These bulk buyers are typically regional banks that buy

and hold GSE Bonds as an investment and do not sell them to other investors. During the

syndication phase, the Approved GSE Bond Dealers are permitted to communicate with each other

to effectuate the initial placement in the primary market. Exceptions are made to banks’ usual

policies prohibiting participation in multi-bank chat rooms to allow the traders working on a

syndicate to easily communicate in real time.

       130.    Finally, the syndication phase ends when the Approved GSE Bond Dealers declare

the new issuance “free-to-trade” often abbreviated as “FTT.” Once this announcement occurs,

secondary market trading begins, and the Approved GSE Bond Dealers that made up the syndicate




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are supposed to compete against one another to sell the newly issued GSE Bonds to investors. The

traders who participated in the GSE Bond auctions and primary market syndication are the same

ones responsible for selling those GSE Bonds to investors in the secondary market after they are

marked FTT.

       131.     Approved GSE Bond Dealers profit from participating in the GSE Issuance Process

by acquiring GSE Bond inventory that they then sell to investors for profit. The GSE Bond

Issuance Process concentrates GSE Bond supply among Defendants as the largest Approved GSE

Bond Dealers.

       132.     Investors, like Plaintiffs, do not participate directly in the GSE Issuance Process.

Instead, they typically transact with Approved GSE Bond Dealers to invest in GSE Bonds in the

secondary market.

       133.     When investors like Plaintiffs have an investment need, they can reach out to a

dealer electronically or by phone. A dealer will send back an offering page, which will list all of

its bonds available for sale with pricing in dollar amounts. If a bond and its price fit the investment

need, then the investor would engage the dealer to get a formal offering. If both parties confirm

the terms of the transaction, settlement will occur the following day or on the scheduled date for

new bond issues. The purchase is cleared through Fedwire. The investor does not obtain physical

possession of the GSE Bonds; the trade simply results in an entry on the Federal Reserve’s Book

Entry system.

                Defendants Controlled GSE Bond Supply

       134.     Defendants controlled the majority of GSE Bond supply because they purchased a

large proportion of GSE Bonds through the GSE Issuance Process. As explained above, Approved

GSE Bond Dealers that participate in a GSE Bond underwriting syndicate secure substantial




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allocations of GSE Bond supply that they subsequently sell to investors.        Accordingly, an

Approved GSE Bond Dealer’s share of GSE Bond underwriting correlates with the amount of GSE

Bond inventory that the Approved GSE Bond Dealer can use to trade GSE Bonds with investors.

       135.   Defendants have consistently been among the largest GSE Bond underwriters in

the United States, and underwrote billions of dollars in GSE Bonds during the Class Period. Thus,

Defendants as a bloc dominated control of GSE Bond supply and were well-positioned to use that

dominant position to fix the prices of GSE Bonds charged to Plaintiffs and the Class. The table

and figures below demonstrate Defendants’ market control:

                                           TABLE 1
     Share of GSE Bond Underwriting from January 1, 2009 through January 1, 2016
                                 Aggregate Trading Volume           Average Market Share
            Dealer                During Class Period ($)            During Class Period
             BCI                      723,691,830,335                      14.07%
            JPMS                      465,703,357,746                       9.05%
       UBS Securities                 426,950,488,975                       8.30%
             DBSI                     357,387,471,120                       6.95%
            CGMI                      331,368,079,245                       6.44%
       First Tennessee                238,371,443,555                       4.63%
       Morgan Stanley                 236,676,490,414                       4.60%
        Merrill Lynch                 236,554,699,955                       4.60%
       BNP Securities                 215,385,393,302                       4.19%
       Goldman Sachs                  187,529,231,456                       3.64%
        CS Securities                 176,277,094,426                       3.43%
      Nomura Securities               158,351,339,346                       3.08%
      HSBC Securities                  93,429,155,590                       1.82%
        TD Securities                  65,836,121,333                       1.28%
      Cantor Fitzgerald                49,762,060,434                       0.97%
        SG Securities                   6,528,750,170                       0.13%
             Total                   3,969,803,007,402                    77.16%




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                                                                       Aggregate Class Period Underwriting Volume

                                          BCI                                                                                       723,691,830,335
                                        JPMS                                                               465,703,357,746
                               UBS Securities                                                         426,950,488,975
                                         DBSI                                                357,387,471,120
                                        CGMI                                               331,368,079,245
Class Period 01/09-01/16




                              First Tennessee                                   238,371,443,555
                              Morgan Stanley                                    236,676,490,414
                           Merrill Lynch/BANA                                   236,554,699,955
                               BNP Securities                                 215,385,393,302
                               Goldman Sachs                             187,529,231,456
                                 CS Securities                          176,277,094,426
                            Nomura Securities                          158,351,339,346
                              HSBC Securities                  93,429,155,590
                                 TD Securities               65,836,121,333
                             Cantor Fitzgerald           49,762,060,434
                                 SG Securities       6,528,750,170

                                                 0              200,000,000,000          400,000,000,000        600,000,000,000    800,000,000,000
                                                                                   Underwriting Volume



                                                                       Aggregate Class Period Market Share

                                          BCI                                                                                         14.07%
                                        JPMS                                                                9.05%
                               UBS Securities                                                           8.30%
                                         DBSI                                                 6.95%
                                        CGMI                                                6.44%
Class Period 01/09-01/16




                              First Tennessee                                    4.63%
                              Morgan Stanley                                     4.60%
                           Merrill Lynch/BANA                                    4.60%
                               BNP Securities                                  4.19%
                               Goldman Sachs                              3.64%
                                 CS Securities                           3.43%
                            Nomura Securities                          3.08%
                              HSBC Securities                  1.82%
                                 TD Securities               1.28%
                             Cantor Fitzgerald           0.97%
                                 SG Securities       0.13%

                                             0.00%        2.00%        4.00%       6.00%        8.00%       10.00%     12.00%     14.00%   16.00%
                                                                                           Market Share




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       136.    This high degree of concentration in the GSE Issuance Process gave Defendants

substantial control over the GSE Bond supply available to investors in the secondary market. It

also gave Defendants the ability to fix the prices that investors paid for GSE Bonds, and the motive

and opportunity to fix GSE Bond prices to generate enormous GSE Bond trading profits.

               GSE Bond Pricing

       137.    The market price of a GSE Bond at any given time is calculated by comparing the

yield to maturity offered by the GSE Bond with the yield offered by other similar debt instruments.

Investors and dealers in the GSE Bond market often use U.S. Treasury securities as a comparison

to determine GSE Bond prices because U.S. Treasury securities are widely viewed as the lowest

risk, most actively traded debt securities available to investors.

       138.    Interest rates and bond prices have an inverse relationship. As interest rates

increase, the prices of GSE Bonds decrease to reflect the fact that an investor can earn a greater

amount of interest by purchasing a new debt instrument at the higher prevailing interest rate.

Conversely, as interest rates decrease, the prices of existing GSE Bonds increase to reflect the fact

that the amount of interest offered by the existing GSE Bond is greater than the amount of interest

an investor could earn by purchasing a new debt instrument at the prevailing interest rate.

       139.    GSE Bonds are OTC debt. Generally, employees at a trading desk within the

Approved GSE Bond Dealer’s GSE Bond business are responsible for determining GSE Bond

price quotes offered to investors. The Approved GSE Bond Dealer sends the price quote to the

investor without disseminating the price quote to the investing public. Despite the vast size of the

market, trades are typically conducted over the phone or by message, person to person.

       140.    Defendants profit by selling GSE Bond inventory to customers at higher prices than

they paid in either the primary or secondary markets. Approved GSE Bond Dealers profit from

trading GSE Bonds with investors by keeping the difference between the price that the Approved


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GSE Bond Dealer pays to purchase a GSE Bond and the price at which the Approved GSE Bond

Dealer sells a GSE Bond to a customer. This difference is called the “bid-ask spread.”

       141.    The bid price indicates the price at which the dealer is willing to buy a given GSE

Bond from a customer, and the ask price represents the price at which a dealer is willing to sell the

same GSE Bond to that customer. By buying at a lower price and selling at a higher price,

Defendants profit off of the difference. The wider the bid-ask spread, the greater the profit for the

Defendant in a GSE Bond transaction and the higher the cost for the customer.

       142.    For example, a Defendant might quote a bid-ask spread of $99.90/$100.10 for a

given GSE Bond. $99.90 is the bid price, or the price at which the Defendant is willing to purchase

the GSE Bond from the customer, and $100.10 is the ask price, or the price that the Defendant is

willing to accept for selling the GSE Bond. The bid-ask spread in this example is $.20.

       143.    One factor that determines bid-ask spreads is transaction volume, also known as

“liquidity.” Bid-ask spreads have an inverse relationship to liquidity in the market. As liquidity

increases, bid-ask spreads become narrower to reflect the lower risk that the dealer will be forced

to carry the GSE Bond while searching for a buyer, exposing the dealer to losses arising from

changing financial conditions such as a credit downgrade to a GSE or a change in prevailing

interest rates. In competitive OTC bond markets, liquidity is such a strong determinant of the bid-

ask spread that it is often used as a “proxy” used to measure bond market liquidity.

       144.    In competitive OTC bond markets, dealers compete against each other by offering

superior prices to customers in order to secure business. Competition keeps bid-ask spreads within

a relatively narrow range, since any dealer that unilaterally quotes inferior prices to customers will

lose business to competitors.




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              VI. DEFENDANTS CONSPIRED TO FIX GSE BOND PRICES
                           CHARGED TO INVESTORS

               Direct Evidence Shows that Defendants Agreed to Fix Prices for Newly
               Issued GSE Bonds After Auctions

       145.    As explained in Part V., above, Approved GSE Bond Dealers that acquire GSE

Bonds from auctions are supposed to compete to sell the newly issued GSE Bonds to investors in

the secondary market after the close of the syndication phase.

       146.    Direct evidence provided by the cooperating co-conspirator shows that this is not

what occurred during the Class Period. Rather, Defendants conspired to fix the price at which

GSE Bonds were FTT in the secondary market at supracompetitive levels. The economic evidence

of collusion described below is consistent with this evidence.

       147.    This misconduct occurred regularly from at least as early as August 2009 through

at least January 2016. The cooperating co-conspirator directly implicated numerous Approved

GSE Bond Dealers in this misconduct, including Defendants DBSI, Merrill Lynch, BNP

Securities, JPM Securities, Morgan Stanley, Goldman Sachs, Nomura, HSBC, Cantor Fitzgerald,

SG Securities, TD Securities, FTN Financial, CS Securities, UBS Securities, BCI, and CGMI.

       148.    For example, on February 13, 2012, MS&Co., DBSI, and BNP Securities submitted

a winning joint bid in a GSE Bond auction conducted by FHLB. BNP Securities and DBSI received

allocations of $167 million each,3 while Morgan Stanley received $166 million. By February 17,

2012, MS&Co., DBSI, and BNP Securities had placed approximately $67 million, $17 million,

and $26 million respectively during the syndication process, leaving these dealers with

approximately $390 million of newly issued GSE Bonds to sell to investors in the secondary

market.


3
       Bond amounts are listed in terms of “par” value in this section.


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       149.   Prior to selling those bonds in the secondary market, on February 17, 2012,

MS&Co., DBSI, and BNP Securities expressly agreed in an online multi-bank chat room to declare

these bonds FTT at a supracompetitive fixed price of $99.985:

              February 17, 2012
              DBSI Trader 1:4 how are you guys doing? we have 100mm left
              Morgan Stanley Trader 1: 150mm left
              BNP Securities Trader 1:5 I’d say free it up given the cheapening trend of FHLB
              BNP Securities Trader 1: $140mm left
              Morgan Stanley Trader 1: i just don’t want to create a race to the bottom
              between the 3 of us, doesnt help anyone.
              DBSI Trader 1: ugh this thing is a pig
              DBSI Trader 1: ok im fine ftt
              BNP Securities Trader 1: I agree, but also don’t want to see spreads gap out,
              FHLB widen, and see a .50 in 2y space
              DBSI Trader 1: go out ftt 99.985?
              BNP Securities Trader 1: Good by me.
              Morgan Stanley Trader 1: sure ftt at 99.985
       150.   In another example from September 18, 2013, Goldman Sachs and DBSI submitted

a winning joint bid in an auction held by FHLB. Each received allocations of $12.5 million.

Goldman Sachs and DBSI placed approximately $150,000 of these GSE Bonds during syndication,



4
       Prior to joining Deutsche Bank, DBSI Trader 1 was a GSE Bond trader at Merrill Lynch
from approximately July 2005 through June 2010 and HSBC Securities from approximately June
2010 through June 2011. DBSI Trader 1 left Deutsche Bank in approximately June 2013 for
Goldman Sachs. DBSI Trader 1 is identified in Paragraphs 151, 165, below, as Goldman Sachs
Trader 1.
5
         BNP Securities Trader 1 was employed by BNP Securities as a GSE Bond trader during
the Class Period from approximately September 2010 through September 2012, at which point he
left for Nomura Securities. BNP Securities Trader 1 is identified in Paragraphs 174, 178, below,
as Nomura Securities Trader 1.



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leaving approximately $24.85 million left for these dealers to sell in the secondary market.

Goldman Sachs and DBSI agreed, prior to selling GSE Bonds newly issued by FHLB in the

secondary market, to fix the FTT price for those bonds at $99.925:

               September 18, 2013
               Goldman Sachs Trader 1: winner
               Goldman Sachs Trader 1: im calling for cover
               DBSI Trader 2:6 ill asnd
               DBSI Trader 2: 1.05 with .80
               Goldman Sachs Trader 1: topeka.
               Goldman Sachs Trader 1: i got asnd queued up
               Goldman Sachs Trader 1: i just need CUSIP.
               DBSI Trader 2: ok cool
               DBSI Trader 2: FTT 99.90?
               Goldman Sachs Trader 1: on nim2
               Goldman Sachs Trader 1: lets just go 99.925.
       151.    The direct evidence provided by the cooperating co-conspirator also shows that

Defendants continued to communicate in real-time using multi-bank chat rooms after agreeing to

fix the FTT price to ensure GSE Bond prices remained artificially high. In the example below,

BNP Securities, DBSI, Goldman Sachs, and Merrill Lynch submitted a winning joint bid in a GSE

Bond auction conducted by FFCB.           BNP Securities, DBSI, and Goldman Sachs received

allocations of $69 million each, while Merrill Lynch received $68 million. By July 16, 2012, these

Defendants had placed approximately $87.25 million during the syndication process, leaving

$187.75 million of newly issued GSE Bonds to sell to investors in the secondary market. In the


6
       Prior to joining Deutsche Bank, DBSI Trader 2 worked for JPMS as a GSE Bond trader
from approximately September 2001 through August 2013. DBSI Trader 2 is identified as JPMS
Trader 2 in Paragraph 176, below.


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chat below, a trader from Merrill Lynch references these Defendants’ agreement from July 16,

2012 to fix the FTT price at $99.875. The following day, traders from DBSI, Merrill Lynch,

Goldman Sachs, and BNP Securities continued to communicate to maintain artificially inflated

prices:

                July 17, 2012
                DBSI Trader 4: 99.985 on the FFCB’s?
                BNP Securities Trader 1: Sounds good here.
                DBSI Trader 4: we have FHLB 0.72’s (4nc3m, Amer), slightly longer settle, that
                we’re showing at 99.85.
                Merrill Lynch Trader 1: [O]K
                Merrill Lynch Trader 1: i might be a touch higher than u guys but def[initely] not
                going lower.
                Merrill Lynch Trader 1: we were 99.875 yesterday right?
                DBSI Trader 4: correct.
                Merrill Lynch Trader 1: cool.
                DBSI Trader 4: you guys all cool w/ that?
                BNP Securities Trader 1: We made a client sale on the 2.25s this a.m. at 99.75 with
                10s at 10.
                Merrill Lynch Trader 1: yes sir.
                BNP Securities Trader 1: our live mark right now is 99.66.
                DBSI Trader 4: I know we’re FTT, and anyone can hit any bid, but given that it’s
                day #2 w/ these bonds, figure maybe we at least try and stay on the same page
                (especially the 3yr). . .less volatile.
                BNP Securities Trader 1: too cheap?
                DBSI Trader 4: i buy them
                Goldman Sachs Trader 2: if we are free to trade, we cannot talk about prices
                DBSI Trader 4: ok. fair enough. just don’t want anyone getting annoyed if someone
                hits a bi[d].




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       152.    These examples of chats show that Defendants were motivated to agree on a fixed

price for newly issued GSE Bonds so that they could secure higher profits, represented by the

difference between the prices that Defendants paid for GSE Bonds in auctions and the prices at

which Defendants sold GSE Bonds to investors. Agreeing to inflate prices for these GSE Bonds

allowed Defendants to both lock in low-risk profits by reselling newly issued GSE Bonds for a

quick profit and to protect GSE Bonds that they held in inventory from declining in value.

       153.    Likewise, in an example from August 31, 2011, BNP Securities, Cantor Fitzgerald,

and DBSI submitted a winning joint bid in a GSE Bond auction conducted by FFCB. BNP

Securities and DBSI received allocations of $165 million each, while Cantor Fitzgerald received

an allocation of $50 million. By September 1, 2011, these Defendants had placed approximately

$200.2 million during the syndication process, leaving these dealers with approximately

$179.8 million of newly issued GSE Bonds to sell to investors in the secondary market.

Recognizing that the value of their inventory was declining, traders from DBSI, BNP Securities,

and Cantor Fitzgerald agree in the chat below to fix the FTT price artificially higher at $99.925,

above where they could sell the bonds during syndication:

               September 1, 2011
               DBSI Trader 1: are we still in synd[ication] on the stepper [i.e. a type of bond]?
               BNP Securities Trader 1: I’d say so.
               BNP Securities Trader 1: and the .47s.
               BNP Securities Trader 1: CF [Cantor Fitzgerald] is out of those.
               DBSI Trader 4: want to go FTT on the 0.47’s?
               DBSI Trader 1: ok so stay in synd[ication] less .25 on the 3yr step [a type of bond].
               BNP Securities Trader 1: I was thinking give it a couple hours this morning.
               BNP Securities Trader 1: You know I make par sales all day.
               DBSI Trader 4: you really think you’re going to make some par sales?



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               BNP Securities 1: Prob right ... 99.925?
               DBSI Trader 4: Given our phenomenal distribution to end acc[oun]ts w/ $1.25 in a
               2yr bond… we have 2 options: 1) Sell bonds to regionals at 99.90 (less 1.00) OR
               2) Sell bonds to regionals at 99.925 FTT.
               DBSI Trader 4: this way we make .50 instead of .25 :)
               BNP Securities Trader 1: Well argued
               BNP Securities Trader 1: I go #2
               BNP Securities Trader 1: FTT.
       154.    Defendants’ anticompetitive practice of agreeing to fix the FTT price for newly

issued GSE Bonds was pervasive and affected the prices of GSE Bonds throughout the Class

Period. This includes GSE Bonds that Plaintiffs transacted directly with Defendants during the

Class Period. See Part VII., below.

       155.    In the absence of a conspiracy, no single dealer would be able to unilaterally

maintain prices for GSE Bonds above a competitive level for a significant period of time without

losing business to its competitors.

               1. Direct Evidence Provided by the Cooperating Co-Conspirator Implicates
                  Each of the Defendants

       156.    On August 29, 2019, this Court sustained Plaintiffs’ claims against Defendants

DBSI, BNP Securities, Morgan Stanley, Goldman Sachs, and Merrill Lynch (the “Chatroom

Defendants”) based on their involvement in the chatroom transcripts cited in Paragraphs 145 to

155, above. Further evidence provided by the cooperating co-conspirator directly implicates each

of the remaining Defendants in the same anticompetitive scheme. The following are illustrative

examples for each Defendant:

       UBS

       157.    On July 1, 2010, UBS and DBSI submitted a winning joint bid in an auction for

$100 million Freddie Mac GSE Bonds. After placing approximately $9 million of these GSE



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Bonds during syndication, UBS and DBSI had approximately $91 million left to sell in the

secondary market. UBS and DBSI impermissibly agreed to fix the FTT price of these bonds at

$99.70:

              July 2, 2010
              UBS Trader 2: less 3.5? or ftt?
              DBSI Trader 3:7 YOUR CALL FTT MIGHT BE AN EASIER SALE
              UBS Trader 2: i got bberg. thx for joining.
              DBSI Trader 3: WHICH FTT -3.5?
              UBS Trader 2: ftt – 99.70
              DBSI Trader 3: GOT IT TKS
       158.   UBS also impermissibly agreed with CS Securities, MS&Co. and DBSI to fix the

price of GSE Bonds as shown in Paragraph 161, below.

       Cantor Fitzgerald

       159.   On January 18, 2012, DBSI, BNP Securities, Cantor Fitzgerald, and HSBC

submitted winning joint bids in FFCB auctions for two GSE Bonds with CUSIP number

313EAAQ1 and 313EAAN8. DBSI, BNP Securities, Cantor Fitzgerald, and HSBC agreed to fix

the FTT price of both GSE Bonds at the supracompetitive level of $99.90:

              January 18, 2012
              Cantor Fitzgerald Trader 1: FTT at 99.90?
              BNP Securities Trader 1: [Cantor Fitzgerald Trader 1], how about $35mm of the
              2.25 and $50mm of the 2.75?
              BNP Securities Trader 1: That way, we each take $50mm 2.25y and $143mm
              2.75y?

7
       DBSI Trader 3 was previously employed by UBS Securities from approximately July 1998
through April 2009, when he left to join Deutsche Bank. DBSI Trader 3 subsequently left DBSI
in approximately May 2011 to join TD Securities. DBSI Trader 3 is identified as TD Securities
Trader 2 in Paragraphs 171, 174, below.



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              Cantor Fitzgerald Trader 1: ok
              DBSI Trader 1: [BNP Securities Trader 1] – bnp and db taking 144mm of the 2.75
              . . .hsbc 143mm and cf 50mm
              DBSI Trader 4:8 where are we going out on these bonds? 99.90? just want to
              make sure everyone’s cool w/ that…
              DBSI Trader 4: thx.
              Cantor Fitzgerald Trader 1: Yes, 99.90
              BNP Securities Trader 1: 99.90 on everything
              DBSI Trader 4: Thx.,…
       160.   As discussed in Paragraph 153 above, Cantor Fitzgerald was also a co-underwriter

of a GSE Bond whose secondary market price was impermissibly fixed.

       Credit Suisse

       161.   In July 2012, MS&Co., DBSI, CS Securities, and UBS submitted a winning joint

bid in an auction for GSE Bonds. Each Defendant then agreed in a group chat to declare these

bonds FTT at a supracompetitive, fixed price of $100.02:

              July 12, 2012
              DBSI Trader 1: shall we go FTT?
              CS Securities Trader 1: hi

              Morgan Stanley Trader 1: i vote yes

              DBSI Trader 1: morning

              CS Securities Trader 1: at -13 I see these 100.018, does that look right?

              Morgan Stanley Trader 1: i see an upsize px at -13 of 100.02

              Morgan Stanley Trader 1: so i agree

              DBSI Trader 1: we have 100.01 so agree

8
     Prior to joining Deutsche Bank, DBSI Trader 4 was employed as a GSE Bond trader at
CGMI from approximately 2001 through 2009.



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               Morgan Stanley Trader 1: i dont want to sell any below there to be honest

               UBS Trader 1:9 FTT we are following

               CS Securities Trader 1: ok, so ftt then. thanks

               Morgan Stanley Trader 1: ftt agreed

               DBSI Trader 1: agreed.

       162.    Similarly, on January 20, 2011, CS Securities, DBSI, and BNP Securities agreed to

fix the FTT price of a GSE Bond at a supracompetitive level of $99.90:

               January 20, 2011

               BNP Securities Trader 1: FTT?

               Credit Suisse Trader 1: sure. Ftt 8 aoas10

               BNP Securities Trader 1: 8 AOAS seems a bit cheap, no?: 99.82

               BNP Securities Trader 1: I was thinking 99.90

               DBSI Trader 3: fft, good luck on these

       Citi and First Tennessee

       163.    On August 17, 2012, First Tennessee, BNP Securities, DBSI, and CGMI. submitted

the winning joint bid in a GSE Bond auction held by FFCB for $190 million in GSE Bonds. Each

Defendant received an allocation of $47.5 million GSE Bonds. On August 22, 2012, First

Tennessee, BNP Securities, DBSI, and CGMI agreed in a group chat to declare those bonds FTT

at the supracompetitive, fixed price of $99.95:




9
       UBS Trader 1 previously worked for BNP Paribas as a GSE Bond trader from
approximately November 2010 through July 2013.
10
        The agency option adjusted spread (“AOAS”), is an alternative way of communicating the
price of a GSE Bond.


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               August 22, 2012

               First Tennessee Trader 1: FTT 99.95?
               BNP Securities Trader 2: I think ftt
               DBSI Trader 1: sounds good
               DBSI Trader 1: [CGMI Trader 1] – you ok?
               CGMI Trader 1: FTT is good. It has been a while since issuance date.
               DBSI Trader 1: cool. ftt
       Société Générale

       164.    On October 19, 2011, SG Securities and DBSI submitted the winning joint bid in

an auction for $50 million Fannie Mae GSE Bonds. Each received an allocation of $25 million

GSE Bonds, and placed approximately $5 million each during the syndication phase. Two days

later – with approximately $20 million each left to sell – SG Securities and DBSI agreed to declare

these GSE Bonds FTT at the supracompetitive, fixed price of $99.80:

               October 21, 2011
               SG Securities Trader 1: Hey [DBSI Trader 4] – I did a small stepper deal with
               [DBSI Trader 1] the other day:
               SG Securities Trader 1: We have them at 100-1.75 I have 20 odd left
               SG Securities Trader 1: I think we get a bit more traction if we free them . . .
               wanna free to 99.80?
               DBSI Trader 4: What’s up [SG Securities Trader 1]? Yeah …sounds good to me.
               99.80 ftt works… Thanks. We have 20.7mm left, so same boat…
       165.    As another example, on April 29, 2012, DBSI, SG Securities, and Goldman Sachs,

agreed to declare a GSE Bond issued by Fannie Mae FTT at a supracompetitive, fixed price of

$99.95.

               April 19, 2012

               SG Securities Trader 1: mind if we just free them to 99.925 and wake some people
               up



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              DBSI Trader 1: SURE

              Godman Sachs Trader 2: I’m ok with that

       166.   Similarly, on September 23, 2011, DBSI, SG Securities, and Merrill Lynch agreed

to declare another GSE Bond FTT at a supracompetitive, fixed price of $99.875.

              September 23, 2011

              DBSI Trader 1: talked to [SG Securities Trader 1], lets FTT on 7y stepper 99.875?
              u cool?

              Merrill Lynch Trader 1: k

       HSBC Securities

       167.   On February 1, 2012, BNP Securities, DBSI, and HSBC Securities submitted a joint

winning bid for $165 million in GSE Bonds in an FFCB auction. Each Defendant received an

allocation of $55 million GSE Bonds. By February 3, 2012, these Defendants had placed

$92 million of these bonds via syndication, leaving $73 million left to sell to investors in the

secondary market. HSBC Securities, BNP Securities, and DBSI then agreed to declare the bonds

FTT at a supracompetitive, fixed price of $99.85.

              February 3, 2012
              HSBC Securities Trader 2: How much size do u guys have left on the 0.80%
              HSBC Securities Trader 2: good morning
              BNP Securities Trader 3:11 3mm
              HSBC Securities Trader 2: still have 30mm left
              HSBC Securities Trader 2: can we do ftt? what level do we want to show out?
              BNP Securities Trader 3: i have 3m, what ever you want to go
              DBSI Trader 1: we have 40mm left

11
       Prior to joining BNP Securities in July 2010, BNP Securities Trader 3 was employed by
JPMS as a GSE Bond trader from approximately May 2008 through June 2010. BNP Securities
Trader 3 is referred to as JPMS Trader 3 in Paragraph 177, below.


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                DBSI Trader 1: lets ftt @ 99.85
                HSBC Securities Trader 2: sounds good
         168.   As another example, on August 6, 2009, DBSI and HSBC agreed to declare a GSE

Bond FTT at the supracompetitive, fixed price of $99.95:

                August 6, 2009

                HSBC Trader 4:12 ok will go with 99.95

                DBSI Trader 3: Free to trade @ 99.95?

                HSBC Trader 4: yup. sound ok?

                DBSI Trader 3: where did we buy it?

                HSBC Tracer 4: i bot it 99.93

                DBSI Trader 3: Ok – DO you want to try 99.96??

                HSBC Trader 4: I think getting out scratch on this trade would be great. I’m afraid
                of payrolls tomorrow. 99.95 would be my preference.

         169.   As discussed above in Paragraph 159, HSBC also agreed with DBSI, BNP

Securities, and Cantor Fitzgerald to fix the FTT price of two GSE Bonds at a supracompetitive

level.

         TD Securities

         170.   On April 23, 2012, DBSI and TD Securities submitted the winning joint bid in a

GSE Bond auction. DBSI Trader 1 separately contacted First Tennessee Trader 2 and TD

Securities Trader 1 to coordinate pricing for this new GSE Bond. After confirming that DBSI and

TD Securities had both “marked” the bond, i.e., valued it on their books, at $99.975, DBSI. First




12
      Prior to joining HSB Securities, HSBC Trader 4 worked at UBS from approximately
August 1993 to April 2009.


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Tennessee, and TD Securities agreed to declare these bonds FTT at a supracompetitive, fixed price

of $99.98:

               April 23, 2012
               DBSI Trader 1: [First Tennessee Trader 2] has 5mm left . . . where do you have em
               marked? Since we’ve barely sold any it may be tough to sell em at a higher px than
               our dealer re? would 99.975 work?
               TD Securities Trader 1: I have them marked there, had them hedged vs 3 yrs…
               DBSI Trader 1: ugh. ok. well im fine do either. i think 99.975 would make more
               sense especially considering we haven’t gotten any sales off to regionals at that
               price but im good to do whatever
               TD Securities Trader 1: how about 99.98?.
               DBSI Trader 1: that work. ftt at 99.98
        171.   Likewise, on October 24, 2013, TD Securities, DBSI, and BNP Securities agreed

to fix the FTT price of a GSE Bond at $99.975:

               October 24, 2013

               BNP Securities Trader 2: Ok so what do we want to do here . . . ?

               TD Securities Trader 2: tell nina that usually 5bps or more is nim2 – able

               TD Securities Trader 2: 11/7th and 6 bps

               TD Securities Trader 2: and FTT at 99.975

               DBSI Trader 2: fine here

               BNP Securities Trader 2: ok

        172.   As discussed below at Paragraph 174, TD Securities also agreed with BCI, DBSI,

and Nomura Securities to impermissibly set the FTT price for a new GSE Bond on August 14,

2013.




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       Barclays

       173.   On July 11, 2011, BCI, DBSI, and BNP Securities submitted the winning bid in an

FHLB auction for $500 million of GSE Bonds. DBSI and BNP Securities each received an

allocation of $167 million, while BCI received $166 million. BCI, DBSI, and BNP Securities

agreed to declare those GSE bonds FTT at the supracompetitive, fixed price of $99.99:

              July 12, 2011
              BCI Trader 1: [BNP Securities Trader 1] you guys are close to out right?
              BNP Securities Trader 1: Yes, $56mm
              DBSI Trader 4: I still have most of mine . . . how you doing [BCI Trader 1]
              BCI Trader 1: yep still long
              BCI Trader 1: 150
              DBSI Trader 4: Yean, I have 148mm. . .
              *       *       *
              DBSI Trader 4: Want to FTT? Again, I’m find with whatever. . . .
              DBSI Trader 4: Usually don’t like to FTT right away, but mkts are volatile, etc. . .
              BCI Trader 1: lets go -.01 for now and match them
              BCI Trader 1: circle back up in a few?
              DBSI Trader 4: sounds good here . . .
              BCI Trader 1: cool
              DBSI Trader 1: less .01 it is . . .
              BNP Securities Trader 1: We can’t increase fees, so FTT OK?
              DBSI Trader 4: that’s fine . . .
              DBSI Trader 4: 99.99

       174.   As a further example, on August 14, 2013, BCI, TD Securities, DBSI, and Nomura

Securities agreed on the FTT price for a new GSE Bond:

              August 14, 2013
              BCI Trader 1: FTT it at 99.975?


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              TD Securities Trader 2: yes
              TD Securities Trader 2: or par with 25c doesn’t matter
              DBSI Trader #: L-5 equiv I see 99.94 for 9/6
              Nomura Securities Trader 1: I’m fine 9/6 . . . I see equiv at 99.95
              BCI Trader 1: I got him to move more on the 8/26th I can try my best on the 9/6th
              BCI Trader 1: i’m fine at 99.95
              BCI Trader 1: I think we can at least get that
       JPMorgan Securities

       175.   On September 28, 2010 DBSI and JPMS submitted the winning bid in an auction

for $50 million of Fannie Mae GSE Bonds. The next day, on September 29, 2010, DBSI and

JPMS “upsize” their position, purchasing an additional $50 million in GSE Bonds from Fannie

Mae at a price of $99.85. Immediately after securing these additional GSE Bonds, DBSI and JPMS

agree to declare them FTT at the supracompetitive, fixed price of $99.90:

              September 29, 2010
              DBSI Trader 3: want to upsize for 25mm or something?
              DBSI Trader 3: just to get it back on tape?
              JPMS Trader 1: what’s the price?
              DBSI Trader 3: waiting on FNMA to send it to me
              JPMS Trader 1: are you looking at anything else?
              DBSI Trader 3: 99.86
              JPMS Trader 1: i am ok to upsize
              *       *      *
              DBSI Trader 3: hey
              DBSI Trader 3: 50mm done at 99.85
              DBSI Trader 3: cool?
              DBSI Trader 3: free at 99.90
              DBSI Trader 3: cool?


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               JPMS Trader 1: ok
       176.    In another example, on July 22, 2011, JPMS, DBSI, and BNP Securities agreed to

fix the FTT price of a GSE Bond at par:

               July 22, 2011

               DBSI Trader 4: cool . . .

               JPMS Trader 2: let’s free this step

               BNP Securities Trader 1: Woah, someone catch a Friday afternoon bid?

               BNP Securities Trader 1: Or just don’t want to sell them discounted any more?

               JPMS Trader 2: i wish

               JPMS Trader 2: yea

               BNP Securities Trader 1: Fine by me

               BNP Securities Trader 1: FTT . . . par on my screen now

               JPMS Trader 2: same

               JPMS Trader 2: 99.99999999999999999999

       177.    On August 11, 2009, JPMS Trader 3 messaged DBSI Trader 3 to propose declaring

a GSE Bond FTT at the supracompetitive, fixed price of $99.70:

               August 11, 2009

               JPMS Trader 3: let’s go 99.70 ftt?

       Nomura Securities

       178.    On February 18, 2014, Nomura Securities, Goldman Sachs, and DBSI submitted a

winning joint bid in an auction for $25 million of GSE Bonds issued by FHLB. When FHLB

reopened the issuance on the same day, Goldman Sachs received a total allocation of $24.5 million,

DBSI received $25 million, and Nomura Securities received $25.5 million. DBSI, Nomura, and




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Goldman Sachs subsequently agreed to “go out with” these GSE Bonds in the secondary market

at the supracompetitive, fixed FTT price of $99.95:

               February 18, 2014
               Nomura Securities Trader 1: .35% w/50c ish?
               DBSI Trader 2: .35 w/ .40
               DBSI Trader 2: .49
               Nomura Securities Trader 1: fine there
               Nomura Securities Trader 1: I would want to go out with
               these 99.95 (or -50c) if we win . . . just my opinion given the horrendous cpn
               DBSI Trader 2: sure
               Nomura Securities Trader 1: winner, my opinion FTT. I have ASND.
               *      *       *
               Nomura Securities Trader 1: so syndicate or FTT?
               Nomura Securities Trader 1: Let’s just FTT
               DBSI Trader 2: ftt
               Nomura Securities Trader 1: cool
               DBSI Trader 2: 99.85 bid on your piece
               Nomura Securities Trader 1: ha ha ha
        179.   As discussed above at Paragraph 174, Nomura Securities also agreed, on

August 14, 2013, with BCI, TD Securities, and DBSI to impermissibly set the price for a new GSE

Bond.

               The DOJ Is Conducting a Criminal Price-Fixing Investigation into the GSE
               Bond Market

        180.   On June 1, 2018, Bloomberg reported that four confidential sources revealed that

the DOJ is conducting a criminal investigation into collusion among dealers to fix prices for bonds

issued by Fannie Mae and Freddie Mac.




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       181.    These confidential sources revealed that the investigation concerns the prices that

dealers in the market for Fannie Mae and Freddie Mac bonds charged to investors, such as

Plaintiffs and the Class. Specifically, the investigation focuses on illegal activities of bank traders

suspected of coordinating in the secondary market to benefit the institutions they work for.

       182.    Though the Bloomberg report only revealed the existence of a DOJ investigation as

to two GSEs – Fannie Mae and Freddie Mac – direct evidence provided by the cooperating co-

conspirator described herein, as well as recent public filings, show that the investigation goes

beyond that. For example, BNP Paribas disclosed in its annual financial report filed on March 5,

2019, that it was being investigated by “US regulatory and law enforcement authorities” for its

conduct in the market for “US Agency bonds,” which is synonymous with GSE Bonds – in addition

to U.S. Treasury securities.

               Features of the GSE Bond Market Fostered Collusion Among Defendants

       183.    In addition to the above-cited direct evidence of conspiracy, circumstantial

evidence, sometimes referred to as “plus factors,” further support an inference of collusion.

               1.      The GSE Issuance Process Put Horizontal Competitors Together in
                       Private Chats

       184.    The very nature of how GSE Bonds come to be sold in the secondary market

facilitated Defendants’ anticompetitive scheme.

       185.    As explained above, GSEs can award Approved GSE Bond Dealers the right to

underwrite and syndicate GSE Bonds through an auction process that allows for groups of

Approved GSE Bond Dealers to submit joint bids. After the auction is held, the winning group of

Approved GSE Bond Dealers are permitted to communicate with each other about GSE Bonds to

facilitate their placement in the primary market. However, this communication among members




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of the syndicate is supposed to end once the GSE Bonds are designated FTT in the secondary

market.

       186.    Defendants did not have systems and controls in place to prevent communication

among syndicate members after secondary market trading began during the Class Period (or to

prevent communications during the syndication phase about prices that would be maintained once

secondary market trading began).       In fact, Defendants’ business practices facilitated such

continued communication by placing the same traders involved in the GSE Issuance Process in

charge of trading GSE Bonds in the secondary market after they were FTT.

       187.    In particular, because Defendants could communicate freely with one another

during the underwriting and syndication of GSE Bonds, they were able to use those lines of

communication to enter into illegal agreements about pricing once the bonds were FTT in the

secondary market. Instead of letting the competitive forces of the market dictate the pricing of the

GSE Bonds, Defendants agreed not to compete so as to prevent a “race to the bottom.”

       188.    Defendants also used their electronic group chat rooms, namely, a program called

Instant Bloomberg, to maintain their collusive price-fixing scheme and coordinate in real time to

share proprietary customer information and align their pricing throughout the life of a GSE Bond.

       189.    In the secondary market, customers typically contact only a limited number of

dealers before transacting. Furthermore, the time required to navigate the OTC process provides

dealers with the opportunity to communicate and collude with one another before an order is

executed.

       190.    These secret communications enabled Defendants to communicate continuously

and to inform each other of inventories, positions, customers, and pricing. By sharing information

regarding customer strategies and positions, Defendants necessarily gave themselves an




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informational advantage to the detriment of investors. It is well recognized in the financial

literature that the improper sharing of information among dealers regarding customer inventories,

trading positions, and strategies causes customers to receive worse terms of trade.

               2.     The Revolving Door and Social Nature of the Market

       191.    The GSE Bond traders and sales personnel at Defendants’ respective offices had

well-established relationships, sometimes dating back to prior overlapping employment. They

worked together regularly, over an extended period of time, as a small group of traders and

salespeople operating in the same markets. Defendants’ GSE Bond traders and sales personnel

were well-acquainted with each other and had pre-existing relationships based on time spent

working together within one of the Defendant’s GSE Bond business.

       192.    During the Class Period, employees on GSE Bond desks moved fluidly among

positions at the various banks. The revolving doors fostered relationships with the traders among

the horizontal competitors that facilitated familiarity which allowed them to discuss and agree

upon pricing in the secondary market and trust that all the parties would go along with the

agreement.

       193.    These traders also routinely gathered for social and industry events at which they

were able to freely discuss sensitive market information and the coordinate trading activities.

       194.    For example, GSE Bond traders regularly met and socialized at an event organized

by an executive of FFCB called “Tips for Parkinson’s.” At this annual event, the GSE traders

served as bartenders competing against each other for tips.

       195.    Participants in the GSE Bond market also attended and socialized at the

Government Investment Officers Association conferences in Las Vegas, Nevada.




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       196.    Interdealer brokers would regularly take GSE Bond traders from different banks

for dinners, sporting events, and other group engagements where they could have communicated

about pricing, agreements, and trading activities.

               3.      The GSEs and Market Conditions Fostered Such Behavior

       197.    The GSEs monitored Defendants’ performance in the secondary market and

awarded underwriting privileges based in part on success in the secondary market. This connection

between the underwriting process and the secondary market gave Defendants a motive to conspire

to raise and fix prices in the secondary market.

       198.    GSE Bonds grew in popularity following the financial crisis in the United States.

This was largely due to the pressure from investors to invest in “safe” instruments and to reduce

risk following losses in 2008 and 2009. For instance, a growing number of U.S. investors (pension

funds, insurance companies, etc.) turned to GSE Bonds to meet safety requirements in bylaws or

investment guidelines following the collapse. At the same time, GSE Bond dealers were under

enormous pressure to generate profit while the federal government mandated that GSEs reduce the

debt on their books after the 2008 financial crisis. The reduction in issuances meant less profit

opportunity for the dealer banks, giving them further incentive to collude to reduce competition in

the already shrinking market.

       199.    The structure of the market is such that the awarding of underwriting services for a

primary issuance (a highly lucrative position) is based on volume in the secondary market. GSEs

circulate monthly “scorecards.” Scorecard rankings then dictate which dealers will be rewarded

with “mandates” for more underwriting business, resulting in additional fees for the dealers. In an

efficiently functioning market, the desire to maintain volume in the secondary market so as to be

awarded a role in the primary issuance would incentivize any single dealer to put downward

pressure on prices and compete against others. By agreeing to fix secondary prices, however,


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Defendants ensured that they could all maintain sufficient volume of sales to be awarded roles in

the primary issuance without having to undercut each other on price in the secondary market so as

to maintain that volume.

       200.    Further, employees on Defendants’ GSE Bond desks were motivated to increase

profits at all costs because their compensation was tied to profit in that they were compensated

based on how much profit they attained. Price fixing was thus a means by which the dealers sought

to increase revenues and therefore their compensation.

               4.     Concentration and High Barriers to Entry

       201.    There is a high level of industry concentration in the GSE Bond market. Defendants

are a relatively small number of competitors who controlled the supply of GSE Bonds available to

investors through their dominant share in the GSE Issuance Process.

       202.    There are high barriers to entry into the GSE Bond market. It is expensive to

become an Approved GSE Bond Dealer, and few banks can bear the costs and risks associated

with carrying sufficient GSE Bond inventory to serve as a dealer in the GSE Bond market. As

explained above in Part V., changes in prevailing interest rates and other factors can affect the

value of GSE Bonds held in a dealer’s inventory, limiting the ability of smaller players to engage

in large GSE Bond trades or hold GSE Bond inventory. The Bank for International Settlements,

a policy and research organization owned by 60 of the world’s leading central banks, explained

that barriers to entry for prospective dealers in OTC markets like the GSE Bond market include:

“a sufficiently large client base to get a good view of the flow of orders; the capacity to take on

large principal positions; continuous access to multiple markets, including funding and hedging

markets; the ability to manage risk, especially the risk of holding assets in inventory; and market

expertise in providing competitive quotes for a range of securities.”




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       203.    These barriers to entry prevented non-cartel members from competing with

Defendants’ cartel on equal terms and luring customers by offering superior prices.

               Analysis of GSE Prices and Other Economic Data Is Consistent with the
               Existence of Defendants’ Conspiracy

       204.    Plaintiffs examined GSE Bond prices during the Class Period in numerous ways.

The resulting analyses of GSE Bond prices throughout the Class Period are consistent with a price-

fixing conspiracy that successfully inflated the prices that investors paid when buying GSE Bonds

and deflated the prices investors received when selling GSE Bonds throughout the Class Period.

       205.    Consistent with the focus of the DOJ’s investigation and the information provided

by the cooperating co-conspirator, economic analysis uncovered statistically significant (with a

confidence degree of 95%)13 anomalies in GSE Bond pricing that are inconsistent with normal,

competitive market conditions.      Specifically, the economic facts are consistent with the

information obtained from the cooperating co-conspirator in that they show that Defendants’

conspiracy to fix the prices of newly issued GSE Bonds immediately following each GSE Bond

issuance resulted in artificially higher prices.     Furthermore, the economic facts show that

Defendants fixed the prices for on-the-run GSE Bonds artificially higher in the period leading up

to a new GSE Bond issuance to support this price inflation. As further evidence of the conspiracy,

the economic analyses demonstrate that the bid-ask spreads were artificially inflated throughout

the Class Period on all GSE Bond transactions with investors.

       206.    For each of these analyses, the GSE Bond prices charged by Defendants were

anomalous during the Class Period as compared to the period after January 1, 2016.




13
        Statistical significance means that the results are at least 95% likely to have been caused
by factors other than chance or coincidence.


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                1.     Defendants Fixed the Prices of Newly Issued GSE Bonds

         207.   Plaintiffs obtained and examined the prices that Defendants charged investors for

newly issued GSE Bonds soon after GSE Bond issuances when Defendants had new GSE Bond

inventory to sell. What is observed are anomalous pricing patterns that show inflated prices for

newly issued GSE Bonds. This caused investors like Plaintiffs and the Class to overpay for GSE

Bonds.

         208.   First, Plaintiffs examined data to observe the difference between the price that

Defendants paid to purchase GSE Bonds from GSEs and the price that Defendants then charged

to investors for these same GSE Bonds.

         209.   In a competitive market, this difference should be especially small for Defendants’

sales of newly issued GSE Bonds made on the same day that GSEs issued the GSE Bonds (“offer

days”). For these sales, only a short amount of time has passed (i.e., less than one day) between

the time when the Defendant purchased the GSE Bond from the GSEs and the time when it sells

the same GSE Bond to an investor. Thus, the impact of new information, such as changes in

prevailing interest rates, the GSE’s creditworthiness, or liquidity, is near zero.14 Moreover, the

secondary market for these on-the-run bonds is highly liquid, further implying that the price

differential paid to Defendants should be quite small.

         210.   Plaintiffs obtained pricing data for GSE Benchmark and Reference Notes

(collectively, the “Notes”). The Notes are among the most traded GSE Bonds, accounting for over

2.5 million transactions from March 1, 2010 through December 31, 2017.15               Defendants




14
         For an explanation of how such information impacts GSE Bond pricing, see Part V., above.
15
      Data for this analysis is first available as of March 1, 2010, when reporting to TRACE
became mandatory.


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participated in underwriting 78.6% of these instruments from March 1, 2010 through January 1,

2016.

        211.   Plaintiffs observed the average difference between the price that Approved GSE

Bond Dealers paid to GSEs for Notes and the price at which Approved GSE Bond Dealers sold

these Notes to investors on offer days from January 1, 2016 through December 31, 2017 (i.e., after

the Class Period). This difference was very small after the Class Period, averaging 1.2 basis

points16 (represented by the blue bar in Figure 2, below).

        212.   Next, Plaintiffs observed the average difference between the price that Approved

GSE Bond Dealers paid to GSEs for Notes and the prices at which Approved GSE Bond Dealers

sold these newly issued Notes to investors on offer days before January 1, 2016 (i.e., during the

Class Period). This difference was 10.6 basis points (represented by the red bar in Figure 2,

below).

        213.   Thus, the price that Defendants charged investors for newly issued Notes on offer

days were nine times higher before January 1, 2016 than after. These results are anomalous. The

substantial decrease in the prices of newly issued Notes after the Class Period would not have been

observed in a competitive market.

        214.   Figure 2, below, illustrates the results of this analysis. The horizontal line marked

“0” is the baseline. It represents the price that the Approved GSE Bond Dealers paid to purchase

Notes from GSEs. The vertical axis is the difference between the price that the Approved GSE

Bond Dealer paid the GSEs for the Notes and the price that the Approved GSE Bond Dealer

charged to investors for these same Notes on offer days. As Figure 2 illustrates, this difference


16
       The term “basis point” is used to compare price and yield. Each percentage point is divided
into 100 basis points, or “bp.” A basis point therefore refers to 1/100th of one percent. As an
example, the difference between an interest rate yield of 6% and 6.12% is 12 bp.


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was much higher during the Class Period, indicating that Defendants colluded to charge higher

prices to investors for newly issued GSE Bonds during the Class Period.


                                                  Figure 2
                         Price Increase Charged to Investors for Newly Issued Notes
                    12


                    10


                     8
     Basis Points




                     6


                     4


                     2


                     0
                                  Before January 1, 2016                                 After January 1, 2016

                                            Before January 1, 2016        After January 1, 2016


               215.       Plaintiffs’ analysis also demonstrates that the price inflation for newly issued GSE

Bonds persisted for a minimum of one week after offer days.

               216.       With regard to all GSE Bonds issued after March 1, 2010, this analysis showed that

each Defendant charged significantly higher prices for newly issued GSE Bonds it sold to investors

during the Class Period compared to after January 1, 2016.

               217.       This observation is summarized in Figure 3, below. The horizontal line marked “0”

is the baseline. It represents the prices that Defendants paid to GSEs to purchase the newly issued

GSE Bonds that they underwrote. The vertical axis represents the increase in price above the

baseline that the Defendants charged to investors for the same newly issued GSE Bonds on offer

days. The red bar represents this increase from March 1, 2010 through January 1, 2016, and the

blue bar represents this increase from January 2, 2016 through December 31, 2017.


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                                                   Figure 3
                            Prices Charged by Defendants for All Newly Issued GSE
                                   Bonds that they Underwrote on Offer Days
                      3


                     2.5


                      2
      Basis Points




                     1.5


                      1


                     0.5


                      0
                                   Before January 1, 2016                       After January 1, 2016

                                          Before January 1, 2016    After January 1, 2016


           218.            The data displayed in Figure 3 is not reflective of a competitive market and instead

demonstrates that the prices of newly issued GSE Bonds that Defendants underwrote were

artificially inflated from at least March 1, 2010 through January 1, 2016, which is represented by

the red bar on the left. The blue bar shows that this increase in price was only 1.15 basis points

from January 2, 2016 through December 31, 2017.17 However, the red bar shows that this increase

was on average 2.58 basis points from March 1, 2010 through January 1, 2016, more than two

times higher than the blue bar.

           219.            In addition, an increase is observed in prices that Defendants charged for newly

issued GSE Bonds relative to the yields offered by U.S. Treasury securities with comparable

maturities. U.S. Treasury securities carry a similar amount of credit risk as GSE Bonds.



17
       The term “basis point” is used to compare price and yield. Each percentage point is divided
into 100 basis points, or “bp.” A basis point therefore refers to 1/100th of one percent. As an
example, the difference between an interest rate yield of 6% and 6.12% is 12 bp.


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       220.    Prices of U.S. Treasury securities are affected by the same macroeconomic factors

and market conditions as GSE Bonds. For example, changes in the credit condition of the U.S.

federal government and prevailing interest affect GSE Bonds and U.S. Treasury securities

similarly.

       221.    For each GSE Bond issuance, Plaintiffs compared the difference between the price

that each Defendant charged to investors for newly issued GSE Bonds and the price that the same

Approved GSE Bond Dealer charged to investors for newly issued U.S. Treasury securities of a

comparable maturity.    For example, Plaintiffs compared the price that Defendants charged

investors for newly issued GSE Bonds with five-year maturities to the yields offered by

comparable five-year U.S. Treasury Notes, and compared the prices that Defendants charged

investors for newly issued GSE Bonds with 10-year maturities to the comparable newly issued 10-

year U.S. Treasury Notes, etc. Plaintiffs repeated this process for GSE Bonds and U.S. Treasury

securities with maturities from one year through 10 years.

       222.    Plaintiffs’ analysis shows that the inflated prices that Defendants charged for newly

issued GSE Bonds on offer days was highly abnormal as compared to the yields offered by U.S.

Treasury securities of comparable maturities.




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                                                 Figure 4
                       Price Inflation for Newly Issued GSE Bonds Above Treasury
                                                   Yields
                 120

                 100

                  80
  Basis Points




                  60

                  40

                  20

                   0
                                 Before January 1, 2016                       After January 1, 2016

                   GSE Bond Price Increase over Treasury Yield (Defendants)
                   GSE Bond Price Increase over Treasury Yield (Non-Defendant Approved GSE Bond Dealers)



                  223.     In Figure 4, the vertical axis represents the difference between: (1) the increase in

price that an Approved GSE Bond Dealer charged to investors for newly issued GSE Bonds over

the price that the Approved GSE Bond Dealer paid to purchase the GSE Bonds from the issuer;

and (2) the yield offered by U.S. Treasury securities with a comparable maturity. The baseline,

marked “0,” indicates the point where this difference is zero (i.e., where the increase in price that

an Approved GSE Bond Dealer charged to investors for newly issued GSE Bonds is equal to the

yield offered by U.S. Treasury securities of a comparable maturity). The red bars represent this

difference for Defendants, and the blue bars represent this difference for non-Defendant Approved

GSE Bond Dealers. The column on the left shows the difference prior to January 1, 2016, and the

column on the right shows the difference after January 1, 2016.




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       224.    This analysis shows that the prices that Defendants charged for newly issued GSE

Bonds that they underwrote prior to January 1, 2016 were not explained by macroeconomic factors

or conditions in bond markets generally.

               2.     Defendants Fixed the Prices of the Previously Issued GSE Bonds Just
                      Before They Went “Off-the-Run” to Create an Artificial Benchmark

       225.    As explained in Part V., above, GSEs typically issue GSE Bonds following a

predictable, regular schedule. Newly issued GSE Bonds of a given type are referred to as “on-the-

run,” and generally have similar features to existing “off-the-run” GSE Bonds except that they

mature at a later date. The most recent off-the-run bonds are used a benchmark when pricing new

issuances. Thus, the prices of new “on-the-run” GSE Bonds are closely correlated with the prices

of “off-the-run” GSE Bonds with similar characteristics that have been previously issued.

       226.    This correlation between the prices of off-the-run and on-the-run GSE Bonds with

comparable features created an opportunity for Defendants’ conspiracy to artificially increase the

price of newly issued GSE Bonds by inflating the market price of GSE Bonds with similar features

that were about to go “off-the-run.”

       227.    The newly auctioned bond is priced off the formerly on-the-run bond. Higher

prices for the formerly on-the-run bond would increase prices for the newly issued, replacement

bond since the formerly on-the-run bond is used as a benchmark in pricing a new issue. Therefore,

inflated on-the-run bond prices on the day before they go off-the-run benefit underwriting dealers

by increasing the price of the newly auction bond.

       228.    For example, because most recent off-the-run bond is used as a benchmark to price

new issuances, inflating the price of the relevant off-the-run bond would increase prices for the

newly issued, replacement bond. Therefore, inflated on-the-run bond prices on the day before they

go off-the-run benefit underwriting dealers by increasing the price of the newly auction bond.



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       229.    Plaintiffs found evidence that this occurred during the Class Period. Specifically,

Plaintiffs found that GSE Bonds about to go off-the-run consistently experienced a statistically

significant price increase in the two days immediately leading up to a new issuance. This is the

opposite of what is expected in a competitive market where demand for (and therefore the price

of) GSE Bonds about to go off-the-run should be relatively low in the days leading up to a new

issuance of GSE Bonds with similar features because investors would prefer to purchase on-the-

run GSE Bonds from the new issuance. This is because the market for on-the-run GSE Bonds is

generally more liquid (i.e., larger transaction volume) than the market for off-the-run GSE Bonds.

Investors prefer to invest in more liquid GSE Bonds because an investor has a higher likelihood

of finding a buyer for these instruments at the market price should the investor decide to sell.

Because demand is higher for on-the-run GSE Bonds than for off-the-run GSE Bonds, prices of

on-the-run GSE Bonds are generally higher and yields are lower.18

       230.    Significantly, this observed price inflation in advance of new GSE Bond issuances

dissipated after January 1, 2016, when prices of bonds that were about to go off-the-run traded at

lower prices than newly issued GSE Bonds.

       231.    Plaintiffs isolated Defendants’ price inflation of Notes about to go off-the-run and

account for any other potential macroeconomic factors by comparing the prices Defendants

charged to their customers for these GSE Bonds and the prices that Defendants charged to each

other for the same Notes. This comparison shows that the price inflation for Notes about to go

off-the-run only occurred in transactions involving customers. In otherwise identical transactions

between the Defendants themselves, no price inflation occurred.


18
       See, e.g., U.S. Department of the Treasury, Treasury Notes, “Examining Liquidity in On-
the-Run and Off-the-Run Treasury Securities” dated May 20, 2016; Federal Reserve Bank of New
York Staff Reports, “An Index of Treasury Market Liquidity: 1991-2017,” October 2017.


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       232.    For example, Plaintiffs examined the yield spreads on 55 different on-the-run GSE

Bonds on the dates around the auction of a new, replacement on-the-run bond during the Class

Period. In particular, they looked at the four different yield curves estimated by Market Axess

based on enhanced TRACE data.19 For each of these calculations of yield spreads over treasury

bonds, Plaintiffs found that the yield spreads did not behave as would be expected when GSE

Bonds were replaced by newer on-the-run bonds.

       233.    In fact, Plaintiffs found that dealers actually charged inflated prices to customers

(both buyers and sellers) on the day before the new auction date. Statistically significant at the

95% level, the graph shows that interdealer prices (as represented by yield spreads)20 are

substantially lower than prices dealers set for either purchases or sales by non-dealer customers.




19
       These four yield spreads are: (1) the Interpolated Spread or “I Spread”; (2) the Market
Spread; (3) the Option Adjusted Spread or “OAS”; and (4) the par spread. Each of these measures
a bond’s rate of return after controlling for various factors.
20
       Note: More negative yield spreads correspond to lower yields and higher prices.


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       234.    Plaintiffs further looked at the prices of GSE Bonds over a three-day period

surrounding the new issuance when the bond went “off-the-run.” In a competitive market, a bond

price would decrease and the bond yield would increase when the formerly on-the-run bond

switched to the less liquid off-the-run market. Instead, during the Class Period, GSE Bond prices

charged to non-dealer customers buying the formerly on-the-run bond were high on the day before

the auction when the bond was still on-the-run. Further, prices continued to be high compared to

interdealer prices over the three-day period surrounding the auction. This was true for each of the

four different measures of yield spreads:




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       235.   Finally, Plaintiffs cross-checked the yield analyses with an analysis of the bid-ask

spreads on dates around the shift in a GSE Bond’s status from on-the-run to off-the-run. Yield



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spreads measure bond prices, whereas bid-ask spreads measure transaction costs and thus the

profits earned by dealers for providing market making services in bond trading. As discussed in

Part V., above, the less liquid the bond, the higher the bid-ask spread. Thus, it is a well-known

characteristic that bid-ask spreads on off-the-run bonds are higher than for on-the-run bonds.

However, Plaintiffs found that bid-ask spreads for formerly on-the-run bonds declined almost two

basis points (statistically significantly at the 95% level) below other GSE Bonds on each of the

three dates around the new auction of a replacement on-the-run bond. This atypical narrowing of

bid-ask spreads for newly off-the-run bonds is consistent with dealer manipulation of GSE Bond

prices around the new issue date. In general, the lower the bid-ask spread, the greater the likelihood

of transactions. Thus, narrower bid-ask spreads were used by dealers to encourage customer

purchases of GSE bonds at inflated prices.




               3.      Bid-Ask Spreads for GSE Bonds Were Artificially Widened

       236.    Plaintiffs analyzed the bid-ask spreads quoted by dealers in the GSE Bond market

both before and after January 1, 2016. This analysis yielded statistically significant results


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showing that bid-ask spreads were wider during the Class Period as compared to the post-Class

Period.

          237.   These results were highly anomalous, and they are even more significant and

unusual after analyzing the relationship between bid-ask spreads in the GSE Bond market to

changes in liquidity (i.e., GSE Bond transaction volume). For example, while bid-ask spreads in

the GSE Bond market should have narrowed during the Class Period in response to increases in

market liquidity caused by advances in electronic trading and transparency (following the

introduction of TRACE), Approved GSE Dealers charged their customers materially wider bid-

ask spreads in the GSE Bond market during this period.

          238.   The direct relationship observed between liquidity and bid-ask spreads is the exact

opposite of what is expected in a competitive market. However, it is entirely consistent with the

direct evidence of Defendants’ agreement not to compete for GSE Bond market activity in the

secondary market. Plaintiffs’ analysis shows that Defendants responded to greater liquidity by

agreeing to maintain wider bid-ask spreads, thereby earning additional profits on each GSE Bond

transaction with customers.

          239.   Plaintiffs examined bid/ask spreads on GSE bonds and found that they were wider

during the Class Period. Controlling for other corporate bond spreads and market volatility,

Plaintiffs found that average bid/ask spreads increased by a statistically significant (at the 99%

level) amount of 4.66 basis points during the Class Period, representing a 68% increase in average

spreads.




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       240.    The effect of Defendants’ conduct on bid-ask spreads can be further observed in

the bid-ask spreads that Defendants quoted in “riskless principal” transactions. A riskless principal

transaction is a trade where a dealer purchases a GSE Bond after it has already agreed to sell the

GSE Bond to a customer or vice-versa, and therefore never bears any liquidity risk associated with

carrying that GSE Bond. Therefore, the dealer can complete a round-trip transaction within



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seconds by simultaneously buying and selling the GSE Bond. Analyzing riskless principal

transactions is useful for measuring the impact of Defendants’ conspiracy on bid-ask quotes

because these transactions are not impacted by market liquidity or other changes in market

conditions.

       241.                This analysis yields statistically significant results further confirming that

Defendants quoted artificially wide bid-ask spreads for GSE Bonds to customers. Between

March 1, 2010 and January 1, 2016, the average bid-ask spread for riskless principal GSE Bond

transactions was 36.1 basis points. In the post-Class Period, bid-ask spreads in riskless principal

GSE Bond transactions substantially decreased to an average of 16.7 basis points, as shown in

Figure 5 below. This represents an additional 116% in profits per transaction for Defendants prior

to January 1, 2016 and corresponding overcharges paid by investors.


                                                  Figure 5
                            Average Bid-Ask Spread in Riskless Principal Transactions
                      40

                      35

                      30

                      25
       Basis Points




                      20

                      15

                      10

                       5

                       0
                                   Before January 1, 2016                      After January 1, 2016

                                          Before January 1, 2016   After January 1, 2016




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       242.    Plaintiffs also analyzed all currently available GSE Bond quotes for which it was

possible to identify the dealer who supplied the quote.21 This dataset included more than 36 million

GSE Bond quotes from January 1, 2009 through January 1, 2016, and more than 47 million quotes

after January 1, 2016, including quotes from seven Defendants.22 Plaintiffs removed the highest

5% of quotes and the lowest 5% of quotes from the sample. This process ensures that the results

of the analysis are not skewed by outliers.

       243.    Plaintiffs adjusted the spreads in the bid-ask quotes in the sample to account for

differences in the notional amount of GSE Bonds quoted. This step ensures that differences in the

notional value of the quoted GSE Bonds do not affect the analysis. The result is the “average

relative bid-ask spread.”

       244.    Last, Plaintiffs compared the average relative bid-ask spreads in the quotes

attributable to the Defendants during the Class Period against the average relative bid-ask spreads

in the quotes attributable to the Defendants after the Class Period.

       245.    The results of this analysis are shown in Figure 6, below. The average relative bid-

ask spread in Defendants’ GSE Bond quotes (represented by the red bar) was 35.4 basis points

during the Class Period. After the Class Period, the average relative bid-ask spread in Defendants’

GSE Bond quotes drops to 18.6 basis points. Thus, the average relative bid-ask spread in

Defendants’ GSE Bond quotes during the Class Period, represented by the red bar, was 90% wider

than the average relative bid-ask spread in Defendants’ GSE Bond quotes after the Class Period,

represented by the blue bar.


21
        Generally, the identity of the dealer supplying a GSE Bond quote is removed from the data.
For this analysis, Plaintiffs used all available quotes that identified the dealer supplying the quote.
22
      Quotes could be attributed to the following seven Defendants: BCI, BNP Securities,
Morgan Stanley, Goldman Sachs, JPMS, CS Securities, and SG Securities.


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                                                     Figure 6
                               Average Relative Bid-Ask Spreads - Defendants' Quotes
                      40

                      35

                      30

                      25
       Basis Points




                      20

                      15

                      10

                       5

                       0
                                          Class Period                         January 1, 2016 to December 31, 2018

                                            Class Period   January 1, 2016 to December 31, 2018


       246.                The results described above indicate that Defendants were responsible for the

artificially wide bid-ask spreads quoted to investors, including Plaintiffs, during the Class Period.

                           Defendants Failed to Adequately Supervise Their Trading and Sales Business
                           During the Class Period

       247.                Defendants failed to properly train sales and trading staff on critical issues such as

ethical behavior, the obligation to independently determine pricing, the distinction between lawful

syndication activities and unlawful price-fixing in the secondary market, and the markets’ reliance

on Approved GSE Bond Dealers to determine fair and competitive GSE Bond prices. These

failures have been well-documented by regulators who have found collusion among Defendants

or their parent companies in multiple other financial markets during the Class Period, as described

in detail below.

       248.                Defendants also invited misconduct among their GSE Bond sales and trading staff

by creating conflicts of interest. For example, Defendants tasked the same individuals who



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participated in underwriting GSE Bonds with determining secondary market pricing. This created

a conflict of interest because these traders book profits based on the difference between the price

at which they purchased GSE Bonds from GSEs and the prices at which they sold GSE Bonds to

investors. This lack of ethical walls also created an unfair advantage for Defendants’ traders and

sales staff because it allowed them to improperly leverage information gleaned from participating

in the GSE Issuance Process (such as investor demand and a GSE’s plans for issuing more GSE

Bonds) to earn additional profits trading in the secondary market. This practice was so common

in the GSE Bond market during the Class Period that insiders gave GSE Bond trading desks that

lacked such ethical walls a nickname, referring to them as “Casino Royale.”

         249.   Defendants’ failure to supply proper training and supervision was especially

egregious because they compensated their GSE Bond trading and sales staff primarily through

variable compensation (i.e., bonuses), based on both individual profits and the profitability of each

respective bank’s GSE Bond trading and sales business. Although individuals’ compensation

packages are a closely guarded secret, the practice of awarding variable compensation based solely

on profits has been studied by observers such as the Brookings Institution.23 Alternative measures

of performance, such as client service, ethical behavior, and adequate supervision of subordinates,

did not factor into these compensation decisions.

         250.   Defendants’ prioritization of their own profits at the expense of lawful, ethical

behavior is especially egregious in the GSE Bond market for several reasons. First, Defendants’

largest customers are institutional investors like Plaintiffs, many of which are state or municipal

funds. These funds are often required to invest in relatively safe investments, such as GSE Bonds,



23
         See, e.g., Douglas J. Elliot, Brookings Institution, Wall Street Pay: A Primer (Jan. 11,
2010).


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because they are subject to strict mandates concerning the level of risk that they can assume in

their investments. These customers depend on these investments to generate sufficient returns so

that they can afford payments for beneficiaries and can finance critical public services.

       251.    Second, Defendants serve as “price makers” in the GSE Bond market, which is both

highly concentrated and opaque. See Part V., above. Accordingly, market participants like

Plaintiffs must rely on Defendants as a source of information to determine competitive price levels

for GSE Bonds so that they can make informed investment decisions. Despite their critical role in

ensuring competitive pricing in the GSE Bond market, Defendants failed to make the necessary

investments in compliance, ethics training, and supervision.

       252.    Defendants engaged in multiple, similar price-fixing conspiracies in various

financial markets during the Class Period that led government investigators to find parallel

deficiencies in oversight and control at Defendants’ trading and sales businesses. These ongoing

investigations have resulted in criminal trials and convictions, billions of dollars in fines, and

successful litigation by injured investors.

       253.    These findings further support the conspiracy alleged in this Complaint because

they demonstrate that each Defendant employed deficient compliance and oversight systems in

their sales and trading businesses during the Class Period and engaged in anti-competitive conduct

across numerous financial markets.

       254.    FX: Multiple Defendants here failed to control or detect rampant misconduct

amongst their trading staff in the foreign exchange market. These failures allowed traders to fix

bid-ask spreads, coordinate trading strategies with competitors to manipulate benchmark prices,

and share confidential customer order information and proprietary information on trading positions

with competitors in group chat rooms with names like “The Cartel.” Defendants’ deficient




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oversight and controls allowed this anticompetitive conduct to persist undetected for years during

the Class Period. The DOJ’s Antitrust Division, the same regulatory office presently investigating

Defendants’ collusive conduct in the GSE Bond market, has obtained guilty pleas against the

following corporate parents of Defendants in this case for failing to adequately monitor

anticompetitive conduct in their subsidiaries’ trading businesses: Citicorp. (a wholly owned, direct

subsidiary of Citigroup Inc., the parent company of Defendant CGMI), Barclays PLC (the

corporate parent of Defendant BCI), and JPMorgan Chase & Co. (the corporate parent of JPM NA

and Defendant JPMS), for operating inadequate oversight measures that allowed trading and sales

staff to engage in a years’ long conspiracy to fix FX prices during the Class Period. Due to its

conduct in the FX market, DOJ found UBS to be in breach of its non-prosecution agreement related

to UBS’s conduct in the setting of “IBOR” benchmark rates. The European Commission also

recently imposed fines of over €1 billion on banks, including the corporate parents of Defendants

JPMS, BCI, and CGMI for their anticompetitive conduct in the FX market. UBS was provided

full immunity by the European Commission in exchange for providing information about the FX

conspiracy. CS AG has also been charged with engaging in “anti-competitive practices” by the

European Commission. CS AG, Deutsche Bank AG (“DB AG”), and Goldman Sachs Group, Inc.,

the parent company of Goldman Sachs, have also entered into Consent Orders with the New York

State Department of Financial Services regarding their anticompetitive conduct in the FX market.

Regulatory fines against the banks totaled over $10 billion. Civil settlements thus far total over

$2.3 billion.

        255.    LIBOR/Euribor/Yen LIBOR/Swiss franc LIBOR: Government investigations and

civil lawsuits have revealed widespread collusion among banks to manipulate benchmark interest

rates for multiple currencies (U.S. Dollar LIBOR, Euribor, Yen LIBOR, Swiss franc LIBOR)




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during the Class Period. These investigations have led to fines of upwards of $9 billion and civil

settlements over $500 million for price fixing by the following corporate parents of Defendants

here who failed to detect and prevent anticompetitive conduct by trading and sales staff within

their subsidiaries. Barclays PLC, Bank of America Corporation (the parent of BANA and Merrill

Lynch), Deutsche Bank AG (the corporate parent of DBSI), UBS AG, JPMorgan Chase & Co.,

and Citigroup Inc have all been fined or plead guilty. Regulators found that trading staff within

these banks engaged in widespread misconduct during the Class Period, including coordinating

false submissions by panelists to the benchmark-setting panel, sharing customer and order

information, and manipulating market prices by submitting false orders (i.e., “spoofing”).

       256.    ISDAfix: Government regulators captured over $850 million in fines from banks,

including DBSI, JPM NA, BNP Securities, BANA, Citibank, N.A. (a wholly owned subsidiary of

Defendant Citigroup Inc.), Goldman Sachs, and BCI, for operating deficient compliance and

oversight functions that allowed traders to systematically manipulate the U.S. dollar ISDAfix

benchmark during the Class Period to boost trading profits. Civil settlements in the case totaled

over $500 million.

       257.    SSA Bonds: A DOJ investigation into price-fixing in the sub-sovereign and

supranational agency (“SSA”) bond market became public in December of 2015. It quickly

prompted simultaneous cartel investigations by the UK Financial Conduct Authority, the European

Commission, and the filing of private lawsuits. The private civil action, originally filed in May

2016, was amended in April 2017 to include 10 banks (originally filed against five) and hundreds

of redacted chats and transcripts that demonstrated that these banks failed to oversee collusive

communications by trading and sales staffs in their bond businesses. In August 2017, Deutsche




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Bank AG and Bank of America Corp. agreed to settle for a total of $65.5 million. In January 2019,

HSBC Holdings Plc agreed to pay $30 million to settle the claims.

       258.    Mexican Government Bonds: The Mexican antitrust regulator, the Comisión

Federal de Competencia Económica (“COFECE”), announced in April 2017 that it uncovered

evidence of anticompetitive conduct among dealers in the Mexican Government Bond market,

including subsidiaries of Citigroup Inc., JPMorgan Chase & Co., and Bank of America Corp. At

least one bank was accepted into its cartel leniency program after admitting to participation in a

conspiracy to fix Mexican Government Bond prices.

       259.    Swiss Franc Interest Rate Derivatives: The European Commission fined UBS AG,

JPMorgan Chase & Co., and CS AG a total of €32.3 million euros for conspiring to fix bid-ask

spreads in the market for interest rate derivatives denominated in Swiss francs. The Swiss franc

interest rate derivatives conspiracy operated similarly to the conspiracy alleged in this Complaint

and involved an agreement among horizontal competitors in the OTC market for derivatives to

charge inflated bid-ask spreads to customers. These parent companies of Defendants failed to

detect and deter collusive communications among traders at these banks.

                               VII. ANTITRUST INJURY

       260.    Plaintiffs are domestic consumers of GSE Bonds. They purchased and sold billions

of dollars’ worth of GSE Bonds in the United States during the Class Period, doing so directly

with each Defendant.

       261.    As described above, Defendants fixed the prices of GSE Bonds during the Class

Period for their own profit.

       262.    As a direct result of Defendants’ misconduct, Plaintiffs were overcharged each time

they purchased GSE Bonds from Defendants and underpaid each time they sold GSE Bonds to




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Defendants. Thus, as set forth in more detail below, Plaintiffs were injured and suffered harm in

each GSE Bond transaction conducted during the Class Period.

       263.    Commonwealth Funds: Commonwealth Funds transacted tens of billions of

dollars’ worth of GSE Bonds in the United States during the Class Period directly with Defendants

BCI, Merrill Lynch, BNP Securities, CGMI, CS Securities, DBSI, First Tennessee, FTN Financial,

Goldman Sachs, JPMS, UBS Securities, TD Securities, MS&Co., HSBC Securities, Cantor

Fitzgerald, Nomura Securities, and SG Securities. These transactions were entered at artificial

prices directly caused by Defendants’ conspiracy. For example, the following transactions involve

purchases of GSE Bonds which the cooperating alleged co-conspirator identified as among those

whose FTT prices Defendants agreed to fix during the Class Period:

 Date          CUSIP           Issuer           Amount             Counterparty
 4/23/2012     313378BR1       FHLB             $ 8,975,000        Morgan Stanley & Co. Inc.
 4/18/2013     3133EAJ33       FFCB             $ 50,000           BNP Paribas Securities
 11/12/2013    3134G4LD8       Freddie Mac      $ 250,000          BNP Paribas Securities
 3/6/2014      3133EAJ33       FFCB             $ 500,000          Deutsche Bank Securities Inc.
 3/21/2014     3133EAJ33       FFCB             $ 2,970,000        Deutsche Bank Securities Inc.
 5/28/2015     3134G62E2       Freddie Mac      $ 5,000,000        Deutsche Bank Securities Inc.

       264.    As demonstrated by the allegations in Part V.1., above, Defendants conspired to

inflate the FTT prices prior to selling GSE Bonds in the secondary market.             As a result,

Commonwealth Funds entered at least those transactions listed above at artificially inflated prices,

suffering monetary losses and antitrust injuries, when they paid more for these GSE Bonds than

they should have during the Class Period.

       265.    In addition, and as a direct result of Defendants’ misconduct, Commonwealth

Funds were overcharged each time they purchased GSE Bonds from Defendants and underpaid

each time they sold GSE Bonds to Defendants.           Thus, as set forth in more detail below,




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Commonwealth Funds were injured and suffered harm in each GSE Bond transaction conducted

during the Class Period.

       266.    Commonwealth Funds’ GSE Bond transactions include purchases of newly issued

GSE Bonds in the week following GSE Bond issuances, and purchases and sales with Defendants

at artificial bid and ask prices that Defendants agreed to charge customers during the Class Period.

Accordingly, Commonwealth Funds were injured when they paid more in GSE Bond purchases

and received less in GSE Bond sales with Defendants during the Class Period as a direct result of

Defendants’ conspiracy. See Part VI.D.1.-3., above.

       267.    For example, PA Treasury purchased GSE Bonds from DBSI on March 3, 2009.

Fannie Mae issued these GSE Bonds on February 27, 2009. During the Class Period, DBSI

participated in a conspiracy to fix prices in the GSE Bond market, which included charging

artificially inflated prices for newly issued GSE Bonds. See Part VI.D.1., above. Accordingly,

PA Treasury was injured when it paid more than it should have for GSE Bonds it bought from

DBSI on March 3, 2009.

       268.    Commonwealth Funds made numerous additional GSE Bond purchases from

Defendants on offer days or in the week after GSE Bond issuances throughout the Class Period.

       269.    Commonwealth Funds also suffered injury by paying artificially higher prices when

buying GSE Bonds, and receiving artificially lower prices when selling GSE Bonds, as a result of

Defendants’ agreement to maintain artificially wide bid-ask spreads.

       270.    For example, on September 26, 2011, Commonwealth Funds sold GSE Bonds to

Defendant BCI. Fannie Mae issued these GSE Bonds on March 4, 2011, and they matured on

April 11, 2016. During the Class Period, BCI participated in a conspiracy to fix GSE Bond prices,

including by agreeing to maintain artificially wide bid-ask spreads. See Part VI.D.3., above.




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Accordingly, Commonwealth Funds were injured when they received less than they should have

for GSE Bonds they sold to BCI on September 26, 2011.

       271.    IBEW 103: “IBEW 103” is a domestic consumer of GSE Bonds. During the Class

Period, it purchased and sold millions of dollars of GSE Bonds in the United States, including

directly with Defendants BCI, JPMS, UBS Securities, CGMI, Goldman Sachs, BNP Securities,

CS Securities, and Merrill Lynch at artificial prices due to Defendants’ conspiracy.

       272.    IBEW 103’s GSE Bond transactions include GSE Bond purchases of on-the-run

GSE Bonds in the week prior to new GSE Bond issuances, GSE Bond purchases of newly issued

GSE Bonds in the week following GSE Bond issuances, and purchases and sales with Defendants

at artificial bid and ask prices that Defendants agreed to charge customers during the Class Period.

Accordingly, IBEW 103 was injured when it paid more in GSE Bond purchases and received less

in GSE Bond sales with Defendants during the Class Period as a direct result of Defendants’

conspiracy.

       273.    For example, IBEW 103 Pension Plan purchased GSE Bonds from Defendant BNP

Securities on or around February 8, 2012. Fannie Mae issued these GSE Bonds on or around

February 6, 2012. During the Class Period, BNP Securities participated in a conspiracy to fix

prices in the GSE Bond market, which included charging artificially inflated prices for newly

issued GSE Bonds. Accordingly, IBEW 103 Pension Plan was injured when it paid more than it

should have for GSE Bonds it bought from BNP Securities on or around February 8, 2012.

       274.    Likewise, IBEW 103 Health Plan purchased GSE Bonds from Defendant JPMS on

or around August 18, 2011. Fannie Mae issued these GSE Bonds on or around August 17, 2011.

During the Class Period, JPMS participated in a conspiracy to fix prices in the GSE Bond market,

which included charging artificially inflated prices for newly issued GSE Bonds. Accordingly,




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IBEW 103 Health Plan was injured when it paid more than it should have for GSE Bonds it bought

from JPMS on or around August 18, 2011.

       275.    IBEW 103 cumulatively made dozens more GSE Bond purchases from Defendants

on offer days or in the week after GSE Bond issuances throughout the Class Period.

       276.    IBEW 103 also suffered injury by paying artificially higher prices when buying on-

the-run GSE Bonds in the week prior to new issuances. Specifically, IBEW 103 Pension Plan

purchased on-the-run GSE Bonds from Defendant BCI on or around October 29, 2010, which GSE

Bonds went off-the-run on or around November 4, 2010. During the Class Period, BCI participated

in a conspiracy to fix prices in the GSE Bond market, which included charging artificially inflated

prices for on-the-run GSE Bonds in the period leading up to a new GSE Bond issuance.

Accordingly, IBEW 103 Pension Plan was injured when it paid more than it should have for GSE

Bonds it bought from BCI on or around October 29, 2010.

       277.    IBEW 103 also suffered injury by paying artificially higher prices when buying

GSE Bonds, and receiving artificially lower prices when selling GSE Bonds, as a result of

Defendants’ agreement to maintain artificially wide bid-ask spreads.

       278.    For example, IBEW 103 Pension Plan sold GSE Bonds to CS Securities on or

around March 16, 2011. Freddie Mac issued these GSE Bonds on or around May 21, 2009, and

they matured on or around June 15, 2012. During the Class Period, Credit Suisse participated in

a conspiracy to fix prices charged to investors in the GSE Bond market, including by agreeing to

maintain artificially wide bid-ask spreads. Accordingly, IBEW 103 Pension Plan was injured

when it received less than it should have for GSE Bonds it sold to CS Securities on or around

March 16, 2011.




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       279.    Likewise, IBEW 103 Health Plan sold GSE Bonds to BCI on or around June 15,

2012. Freddie Mac issued these GSE Bonds on or around January 13, 2012, and they will mature

on or around January 13, 2022. During the Class Period, BCI participated in a conspiracy to fix

prices charged to investors in the GSE Bond market, including by agreeing to maintain artificially

wide bid-ask spreads. Accordingly, IBEW 103 Health Plan was injured when it received less than

it should have for GSE Bonds it sold to BCI on or around June 15, 2012.

       280.    Birmingham: Birmingham is a domestic consumer of GSE Bonds. It purchased

and sold hundreds of millions of dollars’ worth of GSE Bonds in the United States during the Class

Period, including directly with Defendants First Tennessee Bank, N.A.; First Tennessee Securities

Corp.; CGMI; Merrill Lynch; MS&Co.; and Cantor Fitzgerald at artificial prices due to

Defendants’ conspiracy.

       281.    Birmingham’s GSE Bond transactions include GSE Bond purchases of off-the-run

GSE Bonds in the week prior to new GSE Bond issuances, GSE Bond purchases of newly issued

GSE Bonds in the weeks following GSE Bond issuances, and purchases and sales with Defendants

at artificial bid and ask prices that Defendants agreed to charge customers during the Class Period.

Accordingly, Birmingham was injured when it paid more in GSE Bond purchases and received

less in GSE Bond sales with Defendants during the Class Period as a direct result of Defendants’

conspiracy. See Part VI.D.1.-3., above.

       282.    For example, Birmingham purchased GSE Bonds from Defendant Merrill Lynch

on or around October 3, 2012. Fannie Mae issued these GSE Bonds on or around September 24,

2012 and they matured on or around October 26, 2017. During the Class Period, Merrill Lynch

participated in a conspiracy to fix prices in the GSE Bond market, which included charging

artificially inflated prices for newly issued GSE Bonds. See Part VI.D.1., above. Accordingly,




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Birmingham was injured when it paid more than it should have for GSE Bonds it bought from

Merrill Lynch on or around October 3, 2012.

       283.   Birmingham made dozens more GSE Bond purchases from Defendants on offer

days or in the week after GSE Bond issuances throughout the Class Period.

       284.   Birmingham also suffered injury by paying artificially higher prices when

purchasing GSE Bonds as a result of Defendants’ agreement to the fix the price of soon to be off-

the-run GSE Bonds higher in the week leading up to new GSE Bond issuance.

       285.   Birmingham also suffered injury by paying artificially higher prices when buying

GSE Bonds, and receiving artificially lower prices when selling GSE Bonds, as a result of

Defendants’ agreement to maintain artificially wide bid-ask spreads.

       286.   For example, on or around November 13, 2012, Birmingham sold GSE Bonds to

Defendant CGMI. Fannie Mae issued these GSE Bonds on or around May 21, 2010, and they

matured on or around June 26, 2013. During the Class Period, CGMI participated in a conspiracy

to fix GSE Bond prices, including by agreeing to maintain artificially wide bid-ask spreads. See

Part VI.D.3., above. Accordingly, Birmingham was injured when it received less than it should

have for GSE Bonds it sold to CGMI on or around November 13, 2012.

       287.   Institutional investors like Plaintiffs use GSE Bonds as important components of

their investment portfolios because GSE Bonds carry low credit risk and generally offer greater

returns than U.S. Federal Treasury Securities. Because there was no exchange or other public

mechanism to obtain real-time pricing information in the market for GSE Bonds, Plaintiffs relied

on quotes from Defendants to determine competitive pricing for GSE Bonds and made investment

decisions based on this pricing information. By engaging in a secret, years-long price-fixing




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conspiracy in the GSE Bond market, Defendants deprived Plaintiffs and the Class of the

competitive pricing information that they were entitled to when making investment decisions.

                       VIII. CLASS ACTION ALLEGATIONS

       288.    Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on their own behalf and as representatives of the following Class:24

       All persons or entities who transacted in unsecured GSE Bonds issued by Federal
       National Mortgage Association, Federal Home Loan Mortgage Corporation,
       Federal Farm Credit Banks, and Federal Home Loan Banks in the secondary market
       during the period of January 1, 2009 through January 1, 2016 (the “Class Period”)
       with a Defendant where such transaction took place in the United States or its
       territories. Excluded from the Class are the Defendants and any parent, subsidiary,
       affiliate, employee, agent or co-conspirator of any Defendant. Also excluded is the
       Judge presiding over this action, his or her law clerks, their spouses, and immediate
       relations.25

       289.    The Class is so numerous that the individual joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiffs at this time,

Plaintiffs are informed and believe that at least thousands of geographically dispersed Class

members transacted in GSE Bonds during the Class Period at artificial prices due to Defendants’

conspiracy.

       290.    Plaintiffs’ claims are typical of the claims of the other members of the Class.

Plaintiffs and the Class sustained damages arising out of Defendants’ common course of conduct

in violation of law as complained of herein. The injuries and damages of each member of the




24
        Plaintiffs have defined the Class based on currently available information and hereby
reserve the right to amend the definition of the Class, including, without limitation, the Class
Period.
25
       The Class definition excludes transactions in which a party purchased a GSE Bond directly
from Fannie Mae, Freddie Mac, FHLB, or FFCB.


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Class were directly caused by Defendants’ wrongful conduct in violation of the laws as alleged

herein.

          291.   Plaintiffs will fairly and adequately protect the interests of the members of the

Class. Plaintiffs are adequate representatives of the Class and have no interests that are adverse to

the interests of absent Class members. Plaintiffs have retained counsel competent and experienced

in class action litigation, including antitrust class action litigation concerning collusion in financial

markets.

          292.   Common questions of law and fact exist as to all members of the Class, which

predominate over any questions affecting solely individual members of the Class. These common

questions of law and facts include, without limitation:

          (a) whether Defendants’ collusion caused GSE Bond prices to be artificial during the Class

             Period;

          (b) whether Defendants’ unlawful acts violate Section 1 of the Sherman Act;

          (c) whether Defendants’ unlawful conduct caused injury to the business or property of

             Plaintiffs and the Class;

          (d) the operative time period and extent of Defendants’ foregoing violations; and

          (e) whether such injury or the fact or extent of artificiality in GSE Bond prices caused by

             Defendants’ conduct may be established by common, class-wide means, including, for

             example, by regression analysis, econometric formula, or other economic tests.

          293.   A class action is superior to other methods for the fair and efficient adjudication of

this controversy because joinder of all Class members is impracticable. Treatment as a class action

will permit a large number of similarly situated persons to adjudicate their common claims in a

single forum simultaneously, efficiently, and without the duplication of effort and expense that




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numerous individual actions would engender. Class treatment will also permit the adjudication of

claims by many class members who could not afford individually to litigate claims such as those

asserted in this Complaint. The cost to the court system of adjudication of such individualized

litigation would be substantial. The prosecution of separate actions by individual members of the

Class would create a risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Defendants.

       294.    Plaintiffs are unaware of any difficulties that are likely to be encountered in the

management of this action that would preclude its maintenance as a class action.

         IX. EQUITABLE TOLLING AND FRAUDULENT CONCEALMENT

       295.    The statutes of limitations governing Plaintiffs’ claims were tolled under the

doctrine of fraudulent concealment until at least June 2018, when it was revealed that the DOJ

Antitrust Division was investigating price-fixing in the market for GSE Bonds. The doctrine

applies here because Defendants fraudulently concealed their misconduct through their own

affirmative acts, and because Defendants’ conduct was inherently self-concealing.

       296.    Defendants and their co-conspirators actively concealed their violations of law

from Plaintiffs and the Class by, inter alia, (i) relying on non-public forms of communication, such

as private electronic messages and telephone calls; (ii) implicitly representing that the GSE Bond

pricing quotes Defendants supplied to Plaintiffs and the Class were the product of honest

competition and not fixed by a conspiracy; and (iii) affirmatively misrepresenting that they

complied with applicable laws and regulations, including antitrust laws. Below is a list of non-

exhaustive examples of such statements that Defendants published during the Class Period:

       (a) Barclays PLC, reporting on behalf of BCI, reported in its 2010 Annual Report that it

           “operate[s] a system of internal control which provides reasonable assurance of




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   effective and efficient operations covering all controls, including financial and

   operational controls and compliance with laws and regulations.”           Barclays PLC

   claimed that it “acknowledges that free and fair competition is good for business and

   customers and clients, driving innovation and improvements in service provision.”

(b) Bank of America Corporation, reporting on behalf of Merrill Lynch, wrote in its 2010

   Annual Report that it operated a program “consistently applied across the Corporation

   . . . to manage compliance risk.” It also reported that it maintained an independent

   “Corporate Audit function” to “provide reasonable assurance” that “employees’ actions

   are in compliance with . . . applicable laws and regulations.” It further claimed that it

   emphasized a “culture of compliance” across the organization, including at Merrill

   Lynch.

(c) Citigroup Inc. implemented a “Citi Code of Conduct” during and after the Class Period.

   The Citi Code of Conduct applied to all entities affiliated with Citigroup Inc., including

   CGMI, and stated that Citigroup Inc. and its affiliates were “committed to promoting

   free and competitive markets.” In its 2010 Annual Report, Citigroup Inc. claimed that

   it “monitor[ed] and control[led]” employee conduct, which included employees of

   CGMI, through “compliance and legal reporting systems, internal controls,

   management review processes and other mechanisms.”

(d) Credit Suisse Group AG, reporting on behalf of CS Securities, boasted that it had

   developed a “strong compliance culture” during the Class Period. It wrote in its 2010

   Annual Report that it continued to “proactive[ly] develop[] [its] compliance framework

   [to] position[ it] well to respond to evolving regulation in the markets in which [it]

   operate[s].”   Credit Suisse Group AG also emphasized that its “compensations




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   practices and plans . . . are consistent with and promote effective risk management

   practices as well as [its] compliance and control culture.” It published an updated Code

   of Conduct in 2010 “to place a greater emphasis on the values and professional

   standards underpinning [its] control and compliance.”

(e) DB AG, which reports on behalf of Defendant DBSI, wrote in its 2010 Annual Report

   that it maintained a “Regional Management” group responsible for both local and

   corporate-wide “compliance with regulatory and control requirements.” DB AG also

   represented that it was “in compliance with the German laws that are applicable to [its]

   business in all material aspects.”        Price-fixing agreements among horizontal

   competitors are prohibited under German law.

(f) Goldman Sachs Group Inc., which reports on behalf of Goldman Sachs, wrote in its

   2010 Annual Report that it “monitor[s] and control[s] [its] risk exposure through a risk

   and control framework encompassing a variety of separate but complementary

   financial, credit, operational, compliance and legal reporting systems, internal controls,

   management review processes and other mechanisms.” Goldman Sachs Group Inc.

   further claimed that “compliance with the law is the minimum standard to which we

   hold ourselves.” Goldman Sachs Group Inc. also published a Code of Conduct during

   the Class Period that purportedly required “fair and ethical competition” by its

   employees, including employees of Goldman Sachs, and prohibited “manipulation”

   and “unfair dealing practice[s].”

(g) JPMorgan Chase & Co. published a “Code of Conduct” during the Class Period that

   applied to “all its direct and indirect subsidiaries.” In the Code of Conduct, JPMorgan

   Chase & Co. claimed that it was “committed to complying with the letter and spirit of




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   applicable competition laws wherever we do business.” JPMorgan Chase & Co., which

   reports on behalf of JPM NA and JPMS, reported in its 2010 Annual Report that its

   Audit Committee “reviews with management the system of internal controls that is

   relied upon to provide reasonable assurance of compliance with the Firm’s operational

   risk management processes.” It further assured investors that it “has established

   policies and procedures, and has in place various oversight functions, intended to

   promote the Firm’s culture of ‘doing the right thing.’”

(h) First Tennessee and FTN Financial reported under First Horizon’s 2010 Annual Report

   that First Horizon had “[m]anagement processes, structure, and policies [which] are

   designed to help ensure compliance with laws and regulations as well as provide

   organizational clarity for authority, decision-making, and accountability.”      First

   Horizon also reported having a risk management team that “monitor[s] business

   practices in relation to those [established appropriate operating] standards.” It also

   wrote in its Code of Conduct that it prohibited “manipulation, concealment, abuse of

   privileged information, misrepresentation of material facts or any unfair dealing

   practice.”

(i) BNP Paribas SA, which reports on behalf of subsidiaries including BNP Securities,

   wrote in its 2010 Annual Report that it had in place a “complex internal control

   governance structure involving the Board of Directors, through various Committees,”

   to purportedly ensure an effective internal compliance system. BNP Paribas SA

   published a 2011 Code of Conduct where it wrote that it prohibited “market

   manipulation” and required “natural[] compl[iance] with the laws, regulations and

   professional standards” from its employees, including employees of BNP Securities.




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(j) UBS AG, which reports on behalf of UBS Securities, boasted in its 2010 Annual Report

   that it “pursue[s] the highest levels of compliance through extensive employee training

   and investment in risk management processes and standards.”             Additionally, it

   emphasized that it evaluated its employees “base[d]” in part on “whether they . . .

   operate with a high level of integrity and in compliance with UBS policies.” UBS

   Securities also claimed in its global Code of Business Conduct and Ethics that it was

   “committed to . . . complying with relevant laws, rules and regulations, including

   applicable antitrust and competition laws.”

(k) Morgan Stanley, which reports on behalf of MS&Co., wrote in its 2010 Annual Report

   that it “has established procedures based on legal and regulatory requirements on a

   worldwide basis that are designed to foster compliance with applicable statutory and

   regulatory requirements. In addition, Morgan Stanley has and continuously develops

   various procedures addressing such issues as . . . sales and trading practices . . . .”

   Morgan Stanley wrote in its 2013 Code of Ethics and Business Conduct that it “seek[s]

   to outperform our competition fairly and honestly through superior performance. . . .

   No one should take unfair advantage of anyone through manipulation, concealment,

   abuse of privileged information or misrepresentation of facts.”

(l) The Toronto-Dominion Bank, which reports on behalf of TD Securities, wrote in its

   2010 Code of Conduct and Ethics “that concern for what is right, including compliance

   with the law, should be the first consideration in all business decisions and actions.”

(m)Nomura Holdings, Inc., which reports on behalf of Nomura Securities, wrote in its 2010

   Annual Report that it was “striving to strengthen and improve its internal control

   system in order to promote proper corporate behavior throughout the [Nomura] Group




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           from the viewpoints of . . . complying with laws and regulations [and] controlling risks

           . . .”; and that it “works to prevent behavior that may give rise to suspicion of violations

           of legal regulations.”

       297.     Defendants’ conspiracy was inherently self-concealing because it relied on secrecy

for its successful operation and the conduct took place in private electronic chat rooms. Had the

public learned that Defendants conspired to fix prices in the GSE Bond market, their conspiracy

could not have continued for as long as it did. Accordingly, Plaintiffs could not have learned of

Defendants’ anticompetitive conduct prior to June 2018, when confidential sources revealed that

the DOJ Antitrust Division was investigating dealers for fixing the prices of GSE Bonds purchased

and sold by investors.

       298.     Because of Defendants’ fraudulent concealment, Plaintiffs and the Class were not

aware of Defendants’ misconduct and could not have discovered it through the exercise of due

diligence until June 2018, when the DOJ’s price-fixing investigation was revealed publicly for the

first time. Accordingly, Plaintiffs assert that the applicable statutes of limitations on Plaintiffs’

claims were tolled.      Defendants are also equitably estopped from asserting any statute of

limitations defense.

                                    X. CLAIM FOR RELIEF

              (For Violation of Section 1 of the Sherman Act, 15 U.S.C. §1, et seq.)
                                    (Against All Defendants)

       299.     Plaintiffs incorporate by reference and re-allege the preceding allegations, as

though fully set forth herein.

       300.     Defendants and their co-conspirators engaged in a combination and conspiracy in

an unreasonable and unlawful restraint of trade in violation of Section 1 of the Sherman Act, 15

U.S.C. §1, et seq.



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       301.    During the Class Period, Defendants controlled the supply of GSE Bonds available

to investors and were horizontal competitors in the GSE Bond market.

       302.    The combination and conspiracy consisted of a continuing agreement,

understanding, and concerted action between and among Defendants and their co-conspirators in

furtherance of which Defendants fixed, maintained, and charged artificial prices for GSE Bonds

to investors. Defendants’ conspiracy is a per se violation of the federal antitrust laws and is, in

any event, an unreasonable and unlawful restraint of trade.

       303.    Defendants’ conspiracy and resulting impact on GSE Bond prices paid by investors

occurred in and affected U.S. interstate commerce.

       304.    As a proximate result of Defendants’ unlawful conduct, Plaintiffs and members of

the Class have suffered injury to their business or property. These injuries included, but were not

limited to, paying artificial and non-competitive prices for GSE Bonds as a proximate result of

Defendants’ anticompetitive conduct. Plaintiffs and the Class were also deprived of the benefits

of free and open competition in the GSE Bond market.

       305.    Plaintiffs and members of the Class are each entitled to treble damages for the

Defendants’ violations of the Sherman Act alleged herein, and a permanent injunction restraining

Defendants from engaging in additional anticompetitive conduct.

                                XI. PRAYER FOR RELIEF

       Accordingly, Plaintiffs demand relief as follows:
       A.      For an order certifying this lawsuit as a class action pursuant to Rules 23(a) and

(b)(3) of the Federal Rules of Civil Procedure, designating Plaintiffs as the Class representatives,

and appointing their counsel as Class counsel;

       B.      For the unlawful conduct alleged herein to be adjudged and decreed to be an

unlawful restraint of trade in violation of Section 1 of the Sherman Act;


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        C.      For Defendants, their subsidiaries, affiliates, successors, transferees, assignees and

the respective officers, directors, partners, agents, and employees and all other persons acting or

claiming to act on their behalf, be permanently enjoined and restrained from continuing and

maintaining the conspiracy alleged in the Complaint;

        D.      For a judgment awarding Plaintiffs and the Class damages against Defendants for

Defendants’ violations of the federal antitrust laws, in an amount to be trebled in accordance with

such laws;

        E.      For an award to Plaintiffs and the Class of their costs of suit, including reasonable

attorneys’ and experts’ fees and expenses;

        F.      For an order enjoining Defendants from engaging in further anticompetitive

conduct in the GSE Bond market so that public confidence in this market can be restored; and

        G.      For such other and further relief as the Court may deem just and proper.

                           XII. DEMAND FOR A JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs respectfully

demand a trial by jury of all issues so triable.

Dated: September 10, 2019

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.


                                              s/ Christopher M. Burke
                                             Christopher M. Burke




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